Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 1 of 55 Page|D #:140

EXHIBIT G

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 2 of 55 Page|D #:141

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHISN DISTRICT OF ILLINOIS
EASTERN DIVISION

_]AVIER SANTL-\GO,
Plainn`ff,

vs.
No. '1() C 4691
SERGEANT RONI\N, Star No. 2040,

P.O. MICHAEL TE\‘{/S, Star No. 10733,

P.O. G. MOUSSA, Star No. 5509,

KEN SAHNAS, Star No. 331, P.O. NOEL
LIBOY, Srar No. 13447, P.O. l\»-'IK DROZD,

Star No. 19034, P.O. A.A. COLINDRES,

Star No. l9763, P.O. T. ;\. SURL\-"[A, Star No. 7993,
D. l\'l. Sr-\HN;\S, Star No. 789, and the

(`.l'l"\' OF CHIC.»-\GO,

_lUDGE LEINENWEBER

Defendants.

\_/\_/\_/\/\/\/\_/\_/\/\_/\_/\/\/\_/\/\_/\_/

DEFENDANT LT. KEN SAHNAS’S RESPONSE
TO PLAINTIFF’S FIRST SET OP INTERROGATORIES

l)efentlam l,l. l\'cn Sahnas` (hereinafter "‘lir. Sahnas"')‘ l)_\' and through one of his attorneys
(:hristopher ;\. \\721llacc‘ .\ssistant (:orporation (jounsel of the Cit_\' of(:hicago, responds to

l’laintiff’s l*`irst Ser of lnterrogatories, as follo\vs;

l. State the name and address of the individual answering these interrogatories
ANSWER: Lt. Sahnas objects to this interrogatory as seeking information not reasonably
calculated to lead to the discovery of admissible evidence and as seeking personal
information of a police officer, Such as his home address, as such information has no
bearing on this case and disclosure of Which presents a privacy and safety concern to him
and his family. Subject to and without Waiving these objections, Lt. Sahnas states that his
name is Ken Sahnas.

2. ldentify each person Who participated in furnishing any information \vith respect to
the answers to these interrogatories, and state the number of each interrogatory for Which each

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 3 of 55 Page|D #:142

person furnished information

A_NSWER: Lt. Sahnas objects to this interrogatory as vague. Subject to and without
waiving this objection, Lt. Sahnas states that no one furnished any substantive information
other than himself and that he responded to these interrogatories with the assistance of his
counsel.

3. Idenu'fy all persons with any knowledge or information concerning any of the claims
or defenses in this case, including but not limited to, claims concerning the initial stop and/ or
detention of Plaintiff by Chicago police officers on or about ]uly 27, 2008, the arrest of Plaintiff on
or about ]uly 27, ZOOS, the charging of Plaintiff, the continued detention of Plaintiff on or about july
27, 2008 until his release from police custody7 and the prosecution of Plaintiff. Briefly summarize
the knowledge or information that each such person has or is believed to have.

ANSWER: Lt. Sahnas objects to this interrogatory as overbroad in scope, to the extent it
seeks information beyond his personal knowledge and as seeking information equally or
more available to Plaintiff. Subject to and without waiving these objections, Lt. Sahnas
states that he was the watch commander in the 013"` district police station on July 27, 2008,
and as part of his administrative responsibilities he executed the initial approval of probable
cause portion of Plaintifi’s arrest report. Responding further, Lt. Sahnas states that the
initial approval of probable cause is a ministerial duty performed by a supervisor upon
review of an arrest report. Lt. Sahnas did not participate in the arrest of the Plaintiff and did
not witness him being arrested.

4. ldentify any conversations, communications, statements, reports or admissions of or

between any persons or parties, relating to this litigation, the facts of this litigation, or any of the
allegations or defenses contained in the pleadings filed in this litigation, and set forth:

a. The name and address of each party or person who made or gave the statement;
b. The exact substance of the statement;

c. The date and time when such statements were made;

d. Identify the persons who took such statements and the persons who have or had a

copy of such statements;

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 4 of 55 Page|D #:143

2008;

b. Why Plaintiff was arrested by Chicago police officers on or about july 27, 2008;

c. Why Plaintiff was detained by Chicago police officers on or aboutjuly 27, 2008
following Plaintiffs arrest through the time of his release from police custody;

d. \X/hy Plaintiff was charged with a crime on or about)uly 27, 2008;

e. Why Plaintiff was prosecuted for possession of a firearm.

ANSWER: Lt. Sahnas objects to this interrogatory as overbroad in scope and unduly
burdensome, as seeking information equally available to Plaintiff, and to the extent it seeks
v information beyond his personal knowledge. Subject to and without waiving these
objections, Lt. Sahnas states that he did not participate in the arrest of the Plaintiff, did not
witness him being arrested, and did not interact with Plaintiff at any point Lt. Sahnas
states that upon information and belief the police reports generated in relation to the arrest
and the arresting officers will likely have information responsive to this interrogatory
Responding further, Lt. Sahnas refers Plaintiff to his response to interrogatory no. ‘).

/. Did you engage in any physical contact with the Plaintiff during the course of your
interaction with him? lf so, please describe the nature and extent of the physical contact, identify
who witnessed the contact, and identify any and all justification you had for such contact.
ANSWER: Lt. Sahnas did not interact with Plaintiff at any point. Therefore, he responds:
No.

8. Did you witness any police officer, regardless of rank, engage in any physical contact
with the Plaintiff during the course of his arrest and / or detention by Chicago police officers? If so,
please describe the nature and extent of the physical contact, identify the persons who made physical
contact, and identify any other witnesses to the contact '

ANSWER: No.

9. What is your understanding of your role as it relates to the arrest, detention, and
charging of Plaintiff on and after July 27, 2008?

ANSWER: Lt. Sahnas states that he was the watch commander in the 013"‘ district police

Station on July 27, 2008, and as part of his administrative responsibilities he executed'the

Case: 1:10-cv-O4691 Document #: 23-2 -Filed: 12/15/11 Page 5 of 55 Page|D #:144

initial approval of probable cause portion of PlaintifPs arrest report. Responding further, Lt.
Sahnas states that the initial approval of probable cause is a ministerial duty performed by a
supervisor upon review of an arrest report and that the approval signifies that the report sets
forth sufficient information to satisfy probable cause. Responding further, Lt. Sahnas states
that he populated comments in the watch commander comment section of the arrest report
to document that a parole violation warrant was issued against Plaintiff, and, upon
information and belief, populated the felony review portion of the arrest report. Lt. Sahnas
did not participate in the arrest of the Plaintiff, did not witness him being arrested, and did
not interact with Plaintiff at any point.
'10. Pleasc describe the following:

a. Your assignment during all relevant time periods onjul_y 27, 2003, indicating the
scope of said assignment and who was responsible for such assignment;

l). \\'/hat you said7 or what you heard anyone else say, to Plaintiff during (;hicago police
interaction with him on or about»luly 27,2008, including what you or anyone else
said to Plaintiff when you first approached him and at any time thereaftei'; and

c. \\"/hat Plaintiff said to you or what you heard Plaintiff say to anyone else, during
Chicago police interaction with him on or about_luly 27, 2008, including what
l)laintiff said to you or anyone else when you first approached him and at any time
thereafter

ANSWER: Lt. Sahnas objects to this interrogatory as overbroad. Subject to and without
waiving this objection, Lt. Sahnas states that he was assigned as the watch commander in
the 013"‘ district. His responsibilities were administrative Responding further, Lt. Sahnas
states that he did not participate in the arrest of the Plaintiff, did not witness him being
arrested, and did not interact with Plaintiff at any point.

12. Please identify any recording device, audio or visual, in the Vicinity of the initial stop,

detention, and/ or arrest of Plaintiff on or about]uly 27, 2008, including any street light camera,
recording device maintained by you or any member of the Chicago police department or the City of

Cl').icago, or any recording device maintained by any private property owner at or near the situs Of
the stop, detention, and arrest of Plaintiff.

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 6 of 55 Page|D #:145

VERIFICATION

I, Ken Sahnas, a Defendant iri the above-captioned matter, declare under penalty of
perjury under the laws of the United States of America that the foregoing is true and correct

to the best of my knowledge and belief. ,

l\en Sahnas

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 7 of 55 Page|D #:146

EXHIBIT H

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 8 of 55 Page|D #:147

A504BF 9
LIEUTENANT KEN SAHNAS May 17, 2011

 

l STATE OF ILLINOIS )
) SS:
2 COUNTY OF COOK )
3 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT - MUNICIPAL DIVISION

5 JAVIER SANTIAGO,

6 Plaintiff,
NO. 10 C 4691

7 vs.

8 CITY OF CHICAGO, a municipal
Corporation, et al.,

Defendants.
10

11 The discovery deposition of LIEUTENANT KEN
12 SAHNAS, taken under oath on the 17th day of May 2011,

13 at Suite 500, 20 South Clark Street, Chicago,

14 Illinois, pursuant to the Rules of the Supreme Court
15 of Illinois and the Code of Civil Procedure, before
16 Devan J. Moore, a certified shorthand reporter, in

17 and for the County of Cook and State of Illinois,
18 pursuant to notice.

19

20

21

22 ATKINSON-BAKER, INC.
COURT REPORTERS

23 (800)288-3376
www.depo.com
24 FILE NO.: A504BF9

 

 

 

Page l
Atkinson-Baker, Inc, 1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 9 of 55 Page|D #:148

A504BF9
LIEUTENANT KEN SAHNAS May 17, 2011

 

 

 

 

 

 

Atkinson-Baker, Inc,

1 APPEARANCES= 1 (Witness sworn.)
2 BAUMANN & SHULDINER, by 2 |_'[EUTENANT KEN SAHNAS’
3 Y§'SEEY§:;E<A;]tlr/|e';';m 3 called as a witness herein, having been first duly
Suite 500 4 sworn, was examined and testified as follows:
4 Chicago, IL 60603 5 EXAMINATION
(312)372-8242 6 BY
5 ' ' -
6 crf$rd:ecilfdltiiii DEPARTMENT oF LAW, by 7 _ MS' BAUMANN:
MS_ AMY pRE$TON 8 Q Lleutenant, please state your name.
7 30 Norlh LaSa||e Street 9 A Ken Sahnas.
8 §§i°c’;‘g;‘l[l)|[_) 60602 1 0 Q And where do you live, generally?
(312)74’2_4045 1 1 MS. PRESTON: I'm going to object to him
9 for the defendants 12 providing his address on the record because I think
10 1 3 that's a safety concern to the officer, And I
§§ 1 4 instruct him not to provide his address.
1 3 1 5 BY MS. BAUMANN:
1 4 1 6 Q Are you married?
1 5 .1 7 A Ye$_
§§ 18 Q And how long have you been married?
1 8 1 9 A 25 years.
1 9 2 0 Q Do you have children?
2 0 2 1 A Yes.
2 1 2 2 Q How many?
§§ 2 3 A 2.
2 4 2 4 Q And their ages, please?
Pag€ 2 Page 4
1 W INDEX P 1 A 213nd23.
itness: a e -
2 entertains g § 3
3 Ms. Baumal\h 4 4 Q And how long have you been working for
4 5 Chicago Police?
5 EXHIBITS 6 A 25 years plus.
6 Number page 7 Q And what's your current position?
Sahnas Deposition Exhibit No. 1 9 8 A Lleutenant.
7 _ _ _ 9 Q And what are the scope of your duties as
8 (Exhibit not submitted for attachment.) l 0 lieutenant?
9 1 1 A Genera||y I'm either acting a watch
C E R TI F I E D Q U E 5 T 1 0 N S 12 commander in the absence of a higher rank captain; or
10 gage Ll"e 13 I am a field |ieutenant, supervising held activities
11 one` 1 4 when there is a captain.
1 2 1 5 Q What does a field lieutenant supervisor do?
13 1 6 A He oversees operations in the field; |oolG
§§ 17 in on the sergeants and looks in on the officers; and
1 6 1 8 rsponds to assignments, crime conditions out there
17 1 9 in the fleld.
§§ 2 0 Q And the watch commander, what do those
2 0 2 1 roles include?
2 1 2 2 A A watch commander is generally an inside
22 2 3 position in the station. And one of the primary
§§ 2 4 duties is prisoners, probable cause, station
Page 3 Page 5
2 (Pages 2 to 5)

1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 10 of 55 Page|D #:149

 

 

 

 

A504BF9
LIEUTENANT KEN SAHNAS May 17, 2011
1 security. 1 and form.
2 Q On the date in question, July 27th of 2 THE W1TNESS: I believe you're asking a watch
3 2008 -- 3 commander's duties when presented with the arrest
4 First of all, what area are you in 4 report?
5 currently? 7 5 BY MS. BAUMANN:
6 A Currently I'm in the 10th District. 6 Q Yes.
7 Q 0kay. Where is that? 7 A 0kay. I review it for correctness. I
8 A 3315 West Ogden. 8 review it for the charges are correctly stated; that
9 Q How long have you been there? 9 the narrative supports the charges. And most of the
10 A About 3 years. 10 other stuff is the administrative review of other
11 Q 0kay. On the date in question, July 27th 11 stuff, whether the person has children that need to
12 of '08, were you in 10th District? 12 be taken care of, did the victim get aid, medical
1 3 A No. 1 3 attention, et cetera.
14 Q Where were you? 14 Q On July 27th, '08 or any time thereabout
15 A I was in the 13th District. 15 did you meet Javier Santiago?
1 6 Q And where is that located? 1 6 A No.
17 A What is it? 900 or so North Wood. 938 17 Q Were you present at the time he was
1 8 North Wood. 1 8 detained or arrested?
1 9 Q 0kay. And why were you transferred -- were 1 9 A Yes.
2 0 you transferred from the 13th to the 10th? 2 0 Q 0kay. And where were you present for that?
2 1 A Yes. 2 1 A I was present when the officers -- the
22 Q And why were you transferred? 22 arresting officers presented me with his arrest
2 3 A Manpower issues. 2 3 report for review.
24 Q Were your duties as lieutenant as you 2 4 Q Who were the arresting officers?
Page 6 Page 8
1 described them the same duties that you had on July 1 A l believe it was Sergeant Ronan (phonetic).
2 27th of '08? 2 And without having the arrest report in front of me,
3 A Yes. 3 it was Oflicer Tooze (phonetic).
4 Q Did they differ in any way? 4 Q Was the arrest report a case incident
5 A No, 5 report, or is that something different?
6 Q 0kay. On that date do you know if the 6 A It'S Something different-
7 watch -- were you serving as watch commander? 7 Q So other than the arrest report do you
8 A Yes, I was. 8 review any other documents when making your probable
9 Q So the captain wasn't there at that time? 9 cause determination?
1 0 A Correct. 10 A Generally not.
1 1 Q And you were responsible for the probable 11 Q In H'iis case do you recall if you reviewed
1 2 cause determination ln this case? 12 any other documents?
1 3 MS. PRESTON: Objectlon to form. 13 A I do not recal|.
14 BY MS. BAUMANN: 14 Q And I will hand you what we'll mark as
15 Q Were you responsible for the probable cause 15 Deposition No. 1.
1 6 determination in this case? 1 6 (Whereupon, Sahnas Deposition
17 A I reviewed the arrest report, y§, I did. 17 Exhibit No. 1 was marked for
1 8 Q How do you make a probable cause 18 identification.)
1 9 determination? 1 9 BY MS. BAUMANN:
2 0 MS. PRESTON: Objection. Misstates testimony 2 0 Q Take a look at that.
2 1 and form. 2 1 A Yes, this appears to be the arrest report I
22 Go ahead. _ 22 was presented with and which Isigned. I approved
2 3 MS. BAUMANN: I didn't hear you. 23 probable cause on it.
2 4 MS. PRESTON: Objection. Misstates testimony 24 Q And do you not recall any --
Page 7 Page 9

 

 

Atkinson-Baker, Inc.

3 (Pages 6 to 9)
»1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 11 of 55 Page|D #:150

 

 

 

A504BF 9
LIEUTENANT KEN SAHNAS May 17, 2011
1 A The general workings of a uniformed patrol 1 BY MS. BAUMANN:
2 officer. 2 Q Why don't you give me some examples of the
3 Q What does field duties encompass? 3 type of...?
4 A Kind of like the same thing. 4 A Examp|es are we've had 3 weeis worth of
5 Q You were at the training division for 2 5 training in pre-service iieutenant, pre-service
6 years. Why did you leave the training division? 6 sergeant. A lot of it is law, probable cause,
7 A I WaS promoted to Sergeant. 7 police -- what's the word I'm looking for? Police
8 Q And where were you assigned? 8 operations. A review of just about everything.
9 A The 25th District. 9 Q And do all officers take training courses
1 0 Q And what do you do as sergeant? 10 in law?
1 1 A I supervise patrolmen. 11 MS. PRESTON: Objection. Foundation.
12 Q 0kay. How long were you sergeant at the 12 BY MS. BAUMANN:
1 3 25th? 1 3 Q If you know.
1 4 A Approximate|y 2 years. 14 A All officers do get occasional training, be
1 5 Q Is it common to move around like this in 15 it anywhere from 2 hours to 8 hours, I believe on a
1 6 Chicago Police? 1 6 regular basis. Supervisors get more.
1 7 MS. PRESTON: Objection. Form. Argumentative. 17 Q How about with probable cause? What sort
1 8 Go ahead. 18 of training, if you know, do officers generally get?
1 9 THE W1TNESS: It's common. 19 A They generally get a few hours. Wel|, in
2 0 BY MS. BAUMANN: 2 0 the training division they get extensive -- I'm not
2 1 Q Where did you go next? 21 sure as to the amount of hours. Dozens more.
2 2 A I was the supervisor of driver training. 22 After their in-service there's usually
2 3 Q Where at? 23 a yearly review. Right now there's a program where
2 4 A For the Department. We had different 24 if it's a 3-hour update on probable cause, every
Page 14 Page 16
1 locations as availability of land. But I was 1 officer has to attend.
2 assigned to the training division and in charge of 2 Q And you mentioned "police operations".
3 driver training. 3 What does that include?
4 Q And what would you do in terms of 4 A Just about everything. Anything from
5 supervising? 5 writing reporE to driving a car.
6 A I had a group of instructors, generally 6 Q And I assume all officers receive
7 between 6 and 9 instructors. And we provided 7 operations training?
8 training to recruits and in-service ofticers. 8 A They have to, ys, to graduate.
9 Q 0kay. Could you tell me how long you did 9 Q What is your understanding of the term
1 0 that. 1 0 "probable cause"?
1 1 A Y%. Almost 6 years. 1 1 MS. PRESTON: Objection. Form.
1 2 Q 6 years? Does that take us to...? 12 Go ahead.
1 3 A 2005, I believe, where I made lieutenant. 13 THE W1TNESS: That there is enough information
1 4 Q 0kay. Have you worked for any other police 1 4 provided on the arrSt report to substantiate a
15 departments? 15 charge being placed against an arrestee.
1 6 A No. 1 6 BY MS. BAUMANN:
1 7 Q What training have you received during the 17 Q And you're talking from the standpoint of
1 8 course of your employment since 1986? 1 8 the watch commander or lieutenant serving in the
1 9 MS. PRES|'ON: Objection to form. l 9 function of approving officer; correct?
2 0 Go ahead. 2 0 MS. PRESTON: Objection. Form.
2 1 ii-lE W1TNESS: That's kind of a complicated 2 1 Go ahead.
22 question. We had lots of training, as simple as 22 THE W1TNESS: YB. In terms of me looking at
2 3 1 day to stuff that's 2 weeks. 2 3 an arrest report for probable cause, yes.
2 4 2 4

Page 15

 

 

Page 17

 

Atkinson-Baker, Inc.

5 (Pages 14 to 17)
1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 12 of 55 Page|D #:151

A504BF 9
LIEUTENANT KEN SAHNAS May 17, 2011

 

1 status? Do you know why it was upgraded?
2 A It's multiple reasons. His record and his
3 felony status is one of the considerations, along
4 with the probable cause for the stop -~ yeah, I think
5 it's basically on his felony status.
6 The UUW by a felon, you have to be a
7 felon. So it's just the face are you a felon or
8 aren't you a felon, yes.
9 Q Did you witness any of the -- did you ever
1 0 see Javier Santiago?
11 A No, I never saw him.
1 2 Q 0kay. I take it you didn't see any of the

13 officers bringing him in or taking him out or
1 4 transporting him?

 

15 A No, I did not see any of those officers or
1 6 Javier Santiago.
l 7 Q And you consider the initial approval of
l 8 probably cause a ministerial duty?
l 9 A Yes. In the definition of a "duty," ys.
20 MS. BAUMANN: I have nothing further.
21 MS. PRESTON: 0kay. We'll reserve signature.
22 FURTHER DEPONENT SA1T H NAUGHT . . .
2 3
2 4
Page 54
1 SrATE 0F1Ll_1NoIs )
) SS:
2 couNTY 0F cook
3 IN THE cIRcuIT CoURT oF cook CouNTY, ILLINOIS
coul\rrY DEPARTMENT - MuNIcIPAL DIvISIoN
4
5 JAvIER sANTlAGo, )
6 Plaintiff, ))

) No. 10 C 4691
7 vs.

)
8 ClTY OF CHICAGO, a municipal )

corporation, et al., )
9 )
Defendants.
1 0
11 This is to certify that I have read the

12 transcript of my deposition taken on the 17th day of
13 May 2011 in the foregoing cause, and that the

l 4 foregoing transcript accurately states the quations
15 asked and the answers given by me, with the changes
1 6 or corrections, if any, made on the Errata Sheet(s)

1 7 attached hereto.

20 LIEUTENANT KEN SAHNAS
21 This day
of _ 2011.

 

 

 

Page 55

 

15 (Pages 54 to 55)
Atkinson-Baker, Inc. ` 1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 13 of 55 Page|D #:152

EXHIBIT I

DEC~ 13- 2211 12' 27 From: 312- 742- 2223 th

Dis!,
Case: 1:10--cv 04691 Document #: 23- 2 FiC|eDcl:112/15/11P

IN THE UNITED STATES DISTRICT COURT
FOR THE NOR'I`HERN DISTRIC'I` OF ILLINOIS

EASTERN DIVISICN
JAVIER SANTlAGO, )
)
Plaintiff, )
)
v. ) No. 10 C 4691
)
SERGEANT RONAN, Sta.t NO. 2040, ) Judge Leinenweber
P.O. MICHAEL TE\X/S, Star No. 10773, )
P.O. G. MOUSSA, Star No. 5509, ) Mag. Judge Fixmegan
KEN SAHNAS Star No. 331, P.O. NOEL )
LIBOY, Star No. 13447, P.O. M.K. DROZD, )
Star No. 19034, P.O. A.A. COLINDRES, )
Star No 19764, P. O. TA. SURMA, )
Star No. 7993, D. M. DO\WD, Star No 789, and )
the CI'I'Y OF CHICAGO, )
l
Defendants. )

AFPIDA¥;I o;~; QOMA DowD

I, Donna Dowd, having Erst been duly sworn under oath, state the following

1. My name is Donna Dowd and 1 am a lieutenant with the Chicago Police
Department On July 27, 2008, I was working as the acting Watch commander assigned to the
Fourteenth Police Dism`ct, located at 2150 N. Ca,lifornia, Chicago, Il]inois 60647.

2. C)n July 27, 2008, I was on duty and working the first Watch. My shift, the drst
watch, began at approximately 10:00 p.m. on july 27, 2008, and ended at approximately 6:00 a.rn. on
july 28, 2008.

3. I did not participate in the arrest of Plaintiff]avier Sannago, did not witness him
being arrested, and did not interact With Plaintiff at any point

4. I did not generate any reports in relation to the`arrest of the Plaintiff]avier Santiago.

5. A review of the police reports prepared in relation to Plaintiff’s arrest will show my

electronic signature on page five (5) of Plaintist arrest report (ree Plaintist Arrest Report, attached

DEC' 13 2211 12' 27 F 312"742'222361'11. DiSL 1 t F
Case: 1:10--cv-b°¢i°é91 Documeni #: 23- 2 i=iled:112/15/11" riege

r t ?esl< Paae

: /E
15 o 5 Pageio #:1§4

hereto as Ex. A, page 5, bates no. FCRL 14), adjacent to “Final Approval of Charges” portion of the
report,

6. My electronic signature appears on page five (5) of Plaintiff’s arrest report adjacent
to “Final Approval of Charges” because, as part of my administrative responsibilities as the acting
\vatch commander on July 27-28, 2008, I would have reviewed a copy of the completed arrest report
submitted to me and executed the Enal approval of charges portion of Plaintist arrest report by
affixing my electronic signature The “linal approval” I executed is a ministerial duty performed by
the watch commander upon review of a completed arrest report The approval signifies that the
report submitted by the arresting officers sets forth sufEcient information to satisfy the elements for

the offense(s) listed.

FURTHER AFFI_ANT SAYETI-I NOT.

Donna Dowd

Signed sworn before me
this l day of Decemba, 2011

M ""oi=i=iciA'i_`sis`Ai_'"'"`"
v MAui=iEEN Mui_aoe

. NOTAF\\' PUBL|C. STATE OF lLL|NO|S
190er Pubh€ MY commission Expii=iss 9/20/2014

 

       
    

Case: 1:10-cv-04691 Document #: 23-2 Filed: 12/15/11 Page 16 of 55 Page|D #:155

cB #: 17313997
cHicAGo PoLicE DEPARTMENT F'NAL APPROVAL ,R #: 783530
ARREST REPORT Yo #=
3510 s. iviichigan Avenue, chicago, iiiinois 60653 RD #= HP477994
(For use by Chicago Police Depanmem Personnei Only) EVENT #: 0820914014
11 420C REV 6130

/Male
Res: 1944 W Chicago Ave, #2ND Beat; 1322 l§White Hispanic
Chicago, lL 60622 j5' 06"
ooB:_iQo? 1 185 ihs

AGE; 41 years Brown Eyes
Black Hair

pOB; illinois :L H _ Sty|
ong air e

ssN: .0922 »Medium Brown

ARMED WlTH Handgun vComplexion

 

 

: Marks: Taitoo Tear Drop on Right Eye
' Tattoo Devil,Rabbit,Praying Hands on Lower Left
Arm
Tattoo Cobra,Bear on Lower Left Leg
Tattoo Mary on Back
Tattoo Boxing Gloves on Lower Right Arm
Tattoo Puerlo Rican Flag,Rose on Upper Right Arm
Tattoo Debbie on Neck
`. Tattoo Heart,l\/lonica,Javier on Lower Right l_eg
;"i.’>irrest Date: 27 July 2008 15:46 TRR Complefed? No |Total No Arrested:1 Co-Arrests Assoc Cases
Location: 925 N Damen Ave Beaf: 1322 DCFS Ward ? NO

Chicago ll_ 60622 '
' d t ?
304- Street lDeP€n en Children No

Holding Facility: District 014 Lockup '

 

 
   

 

 

 

 

 

i_'.._ - l
0 Resisted Arrest? No i\
z |_ ll
i 1
l Victim
1 Offense As Cited 720 lLCS 5.0/24-1.1-A Stale Of lliinois, P.O. Tews
#10773
l UUW ~ WEAPON - FELON/PAROLE-POSSESS/USE FIREARM PR|OR_
: Class 2 - Type F
` 2 Offense As Cited 720 lLCS 5.0/24-1.6-A-3-C Stafe Of ll|inois, P.O. Tews
#10773
UUW - WEAPON - NO FO|D
C|ass 4 - Type F
Offense As Cited 415 lLCS 105.0/5 State Of lllinois, P.O. Tews
#10773
LlTTER|NG FROl\/l l\/|TR VEH|CLE
Class B - Type M
Offense As Cited 625 lLCS 5.0/6-101 State Of lllinois, P.O. Tews
#10773
DRlVlNG/NEVER ISSUED LlCENSE
Class B - Type M
Offense As Cited 625 lLCS 5.0/3-707 State Of l|linois, P.O. Tews
#10773
lNSURANCE - OPERATE |\/lTR VEH|CLE WlTHOUT
' Class U -
6 Offense As Cited 720 lLCS 5.0/24-5-B >_ State Of lllinois, P.O. Tews

 

 

Priiit Generated By: SlZEMORE, Gai| ( PCOE710) 27 SEP 2010 11137

Santiago, 10 C 4691
0010

 

Case: 1:10-cv-04691 Document #: 23-2 Filed: 12/15/11 Page 17 of 55 Page|D #:156

  

 

 

. . _
Chicago Police Department - ARREST Report CB# 17313997

 

 

 

    

 

 

 

 

  

 

 

 

 

 

 

 

 

     

SANT|A1__LGO _la_viei_
#10773
POSS FlREARl\/l W/DEFACED SER|AL NUMBER
Class 3 - Type F
'Offense As Cited 725 lLCS 5.0/110-3 State Of |llinois, P.O. Tews
` ' #10773
|SSUANCE OF WARRANT
§>_ v f Felony Review : Approved 27 JUL 2008 19:15 Gonzalez, Laura State's Attorneys's Office
NO NARCOTlCS RECOVERED
Type NC|C/ Hold Bond Case County
Leads No Amount Docket No
Paroie/i\/land Violation Cook

emark$; |DOC lSSUED W/-\RRANT FOR PAROLE VlOLAT|ON lDOC #R20219

 

 

 

 

 

 
 
     
  

§ §§vic-Tiivi AND coMPLAiNANT ' ' ’ » y ' " `_;i_.; j' ' . ' §§
@ §Name:sTATE oF iLi_iNois, P.o. Tews #10773 """'|}§"jl`,red? No oecease§i?i\io"' ` "'
§:ff 5 5
§§ §DOB: Hospitalized?No
§§ _Age:
& 5 Treated and Released?No
30 vComments:
(Q
.Zv

:vehicie: v`i;Hici_E iiviPouNoED: Yes,

996 Automobile - Volkswagen ~ Jetta - Hardtop, 4-Door VlN#:3VWRA81H5Tl\/1009959 Lic#:X176785 |L
Color: Black (Top) / Black (Bottom) - lnv#:

w EDisposition:

Print Generated By: SlZEMORE, Gai`l ( PCOE710 ) 27 SEP 2010 11:37

 

Santiago, 10 C 4691
0011

Case: 1:10-cv-04691 Document #: 23-2 Filed: 12/15/11 Page 18 of 55 Page|D #:157

Chicago Police Department -ARREST Report f n §§ § 7 § SANT|A§QL Javier

 

onfiscated Properties :

§ All confiscated properties are recorded in the e-Track System. This system can be queried by the inventory number to retrieve all official court
ocuments related to evidence and/or recovered properties.

 

§ PROPERT|ES lNFORMATlON FOR SANTIAGO, Javier, NOT AVAlLABLE lN THE AUTOMATED ARREST SYSTEM.

 

 

' - (The facts for probable cause to arrest AND to substantiate the charges include, but are not limited to, the following)

3 vEVENT# lN SUl\/ll\/lARY. A/O' S RECE|VED lNFORl\/lATlON FROl\/l AN ANONYMOUS CONCERNED ClTlZEN THAT THE
4 ABOVE ARRESTEE WAS |N POSSESS|ON OF A HANDGUN. THE CONCERNED ClTlZEN RELATED THAT THE ABOVE ;.
f ARRESTEE WAS A M/4/ WlTH LONG BLACK HA|R AND WEARING /-\ BLACK TANK TOP, BLACK SHORTS, AND BLACK
1 GYM SHOES AND WAS lN A BLACK JETTA BEARlNG PLATE #X‘l 76785 WH|CH WAS LOCATED AT DAMEN/RICE. 5
’ ARMED WlTH A DESCR|F’T|ON OF THE ARRESTEE AND HlS LOCAT|ON THE 1369 GANG TEAM RE- LOCATED TO §
HE AREA OF DAMEN AND R|CE AND SET UP SURVE|LLANCE. WH|LE CONDUCT|NG SURVE|LLANCE SGT RONAN
BSERVED AN lNDlVlDUAL F|TTING THE DESCR|PT|ON GlVEN BY THE ClTlZEN SlT`l'lNG lN THE DR|VERS SEAT OF
§§ 1 - BLACK JETTA BEAR|NG PLATE X176785 PARKED ON DAMEN FACING NORTH BOUND. AFTER FURTHER 1
;' 1 SURVEILLANCE THE ABOVE ARRESTEE WAS OBSERVED BY SGT. RONAN TOSS A WRAPPER OUT OF THE
W|NDOW OF SAlD VEH|CLE. FURTHER lNVESTlGAT|ON REVEALED THAT THE ARRESTEE DlD NOT HAVE A VALlD
RlVERS LlCENSE. THE ARRESTEE THEN PULLED OUT OF HlS PARK|NG SPACE AND WENT NORTH BOUND ON
DAMEN AT WH|CH TllVlE HE WAS CURBED BY A/O' S AT 925 N. DAMEN. ARRESTEE WAS UNABLE TO PRODUCE A
AL|D DRIVERS L|CENSE OR lNSURANCE AT WH|CH TlME HE WAS TAKEN lNTO CUSTODY. SEARCH OF SA|D
EH|CLE WH|CH WAS CONDUCTED BY P. O. TEWS PRODUCED A CHROME REVOLVER LOCATED UNDER THE
CENTER CONSOLE OF SA|D VEH|CLE. ABOVE ARRESTEE WAS TRANSPORTED TO 013TH DlSTRlCT FOR
PROCESS|NG. NAME CHECK REVEALED HE WAS ON PAROLE FOR ARMED ROBBERY, CLEAR FOR WARRANTS
fAND lNVEST|GATlVE ALERTS V|A LEADS AND l- CLEAR. ARRESTEE JEWELRY |NVENTORIED #11372859,
§PROPERTY #‘11372842.
l§SEE WC COMMENTS SECTION FOR ADD|TIONAL COMMENTS

   
 
 

 

     
 

  
  
 

at
4:
z
iii
§§
o
§§

 

Desired Court Date: 04 August 2008

-' Branch: 42-2 2452 W BELMONT- Room
Court Sgt Handle? No

initial Court Date: 28 July 2008

Branch:1 2600 S CAL|FORN|A - Roomi 11
Dockef #:

BOND lNFORMATiON NOT AVA|LABLE

 

" dou,RTs.l_NF;/O;:’:~"i

 

 

ATTESTlNG OFFlCER: t . . .
l.l.l l hereby declare and affirm, under penalty of perjury, that the facts stated herein are accurate to the best of my
Z knowledge, information and/or belief.

,,z§
jos
aaa

 

 

 

 
 
  
 

 

#5509 MOUSSA, G (PCOX120) 27 JUL 2008 18:16

   

 

Beat

st Arresting Officer: #10773 TEWS, M J (PCOW596) ` 1369A

  
 

rid Arresting Officer: #5509 l\/|OUSSA, G (PCOX120) 1369A

 

 

pproval of Probable Cause' #331 SAHNAS, K (PCOP683) 27 JUL 2008 18;18

 

Print Generated By: S|ZEMORE, Gai| ( PCOE710) v f Page 3 Of 5 27 SEP 2010 11:37

 

Santiago, 10 C 4691
0012

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 19 of 55 Page|D #:158

CB #=
SANTl\/:tGO J `

  
   

Chicago Police Department - ARREST Report

 
   
     

w Holding Faci ity: Dlstrict 4 Loc up Time Last Fed:
` Received in.Lockup: 27 July 2008 22:27 Time Ca"ed: Phone#:

  
   
   
   
 
 
  

Prints Taken: 27 July 2008 22:50 §Ce" #: 33
Pa|mprints Taken: Yes
:_ Photograph Taken: 27 July 2008 22:47 l Transport Detai|s : 2PO 2573 27-JUL-2008 15:50

" Released from Lockup: 28 July 2008 05:25

   

 

  

 

 

 

s ac ”»’;_§“REST'EE 111 17 'ARRE§IEE§@uEsI{QNN E'E" "
ls there obvious pain or injury? Present|y taking medlcation?
ls there obvious signs of infection? No (if female)are you pregnant?
Under the influence of alcohol/drugs? No First time ever been arrested?
Signs of alcohol/drug withdrawa|? No Attempted suicide/serious harm? No
Appears to be despondent? No Serious medical or mental problems? No
Appears to be irrational? No Are you receiving treatment? No

 

Carrying medication? No

 

  
   

 

 

 

 

 

 

 

 

 

 

Name . REFusED) 1 ' /
` Res: Beat:

 

 

NO lNTERVlEWS LOGGED

 

NO VlSlTORS LOGGED

`SFITO'§" doe ilN EerEwLoe

 

 

Print Generazed ey.l SleMORE, Gail ( PcoEHo ) _ .Page 4 of 5 27 SF_P 2010 11-_37

inr»";».,mg'y

 
 

Santiago, 10 C 4691
0013

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 20 of 55 Page|D #:159

. . CB #=
Chicago Police Department ARREST Report x 0 Javier

  
    

 

 

MOVEMENT LOG lNFORMATiON NOT AVAiLABLE

 

 

|§Watch Commander Comments:
#331 Sahnas, Ken (PCOP683)
27 JUL 2008 20:05

Warrant issued for Parole Vio|ation -NO BOND WARRANT
Warrant # WG-0807310,Charges: 730 lLCS 5/3-13-4,and 730

§ DOES NOT AF'PLY TO THIS ARREST
§§

319 lLCS, 5/3-14-2. issued by ||linois Dept of Corrections for violation

3 z §

 
  

of paro|e.

 

 

_:§@RRES_§IEEPRocE/ssme P‘E.RSQNNEE~ ` :;~3; .,
,s Beat

 
   
 
   
    
  

 

   

 

   

 

 

Searched By: #6530 HALL, A D (PCOG473)
Lockup Keeper: #6530 HALL, A D (PCOG473)
Assisting Arresting Officer.' #13447 LlBOY, N C (PCOW064) 136913
1 Assisting Arresting Officer: #19034 DROZD, M K (PCOV726) 2573
' Assisting Arresting Officer: #19764 COL|NDRES, A A (PCOQ670) 1369B
Assisting Arresting Off`lcer: #2040 RONAN, S l\/l (PCOG183) 1369
Assisting Arresting Oft"lcer: #7993 SURIVIA, T A (PCOT605) 2573
Fingerprinted By: YOUNG, K (PCOR596)
m "PRovAL F*ER'soNNEL: ' '- ` _"
w 4 _ ___M_Mu
_ Lu § Beat
§§ ’: Final Approva| of Charges : #789 DOWD, D M(PCOP452) 28 JUL 2008 03:35
§ ,
Print Generated By: S|ZEMOREl Gail ( PCOE710 ) Page 35 of 5 27 SEP 2010 11;37

  

nyizie;cvf¢z;hu

Santiago, 10 C 4691
0014

CaSe:`l:lO-cv-04691 Document #: 23-2 Filed: 12/15/11 Page 21 of 55 Page|D #:160

EXHIBlT J

10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

 

 

Arr. Date: 8-25-03
IN THE CIRCUIT COURT OF THE COQK JUDICIAL CIRCUIT
COUNTY DEPARTMENT-FIRST MUNICIPAL DIVISION

THE PEOPLE OF THE
STATE OF ILLINOIS,

)
)
) Branch 42
Plaintiff, )
l
)
vs. ) 08-126278
)
JAVIER SANTIAGO, )
)
Defendant. ) UUW

PRELIMINARY HEARING
REPORT OF PROCEEDINGS of the hearing before the
Honorable STUART PAUL KATZ had on the 4th day

of August 2008.

APPEARANCES:

HON. RICHARD A. DEVINE,
State's Attorney of Cook County, by.
MR. KENNETH ALPERT,
Assistant State's Attorney,
for the Plaintiff;

HON. EDWIN A. BURNETTE,
Public Defender of Cook County, by
MR. JARNAIL KANDA,
Assistant Public Defender,
for the Defendant.

Phyllis yaeger, CSR
Official Court Reporter
#084-002520

 

 

 

 

THE CLERK: Javier Santiago.
(Hitness swornJ

HR. ALPERT: State is asking leave to amend the
charge.

MR. KANDA: No objection.

MR. ALPERT: For this hearing and this hearing only,
the State and Defense agree to stipulate to that the
defendant has a prior robbery, armed robbery, conviction
under 00 CR 27834.

MR. KANDA: So stipulated only for this hearing.

THE COURT: That is granted. That stipulation is
entered into evidence.

OFFICER TEWS,
called as a witness on behalf of the People of the State
of Illinois, being first duly sworn, was examined and
testified as follows:
DIRECT EXAMINATION
BY MR. ALPERT:

Q Please state your name, star number, and unit
of assignment?

A Officer Tews, star 10773. l am presently
assigned to the 13th District. Gang Team.

Q Directing your attention to July 27, 2008,

around 925 North Damen and the time of 3:45, on that

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

10

11

13

14

15

16

17

18

19

20

21

22

23

24

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/1_1 Page 22 of 55 Page|D #:161

 

date, time, and location, did you see anyone then you see
in the courtroom today?

A Yes, I did.

Q Please point to this individual, indicate an
article of his or her clothing.

A The gentleman to my right in the beige DOC
uniform.

MR. ALPERT: Indicating the in-court identification
of the defendant for the record.

THE COURT: So noted.

MR. ALPERT:

Q On that date, time, and location, was the
defendant pulled over for an Illinois vehicle code
violation?

MR. KANDA: Objection. Leading.

THE COURT: Overruled.

THE W1TNESS: Yes, he was.

MR. ALPERT:

 

 

 

 

Q And once he was pulled over for that Illinois
vehicle code violation, was he able to produce a valid
driver's license and/or insurance?

A No, he was not.

Q What happened after he failed to produce those
items?

3
n He was taken into custody.

Q After he was placed into custody, what happened

next?
A A search was conducted of his vehicle.
Q Was that vehicle registered to the defendant?
A yes, it was.

Q what, if anything, was found inside the
vehicle?
A A chrome _32 caliber revolver.

Q Was that loaded?

A No, it was not.

Q Was there anyone else in the vehicle with the
defendant/driver?

A No, there was not.

Q And during your investigation, did you learn

that the defendant did not have a valid firearm owner's

identification card?

A That's correct.
Q And this was on a public way, is that correct?
A Yes.

MR. ALPERT: Nothing further.

THE COURT: Cross.

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

10

ll

13

14

15

16

17

18

19

20

21

22

23

24

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 23 of 55 Page|D #:162

 

CROSS EXAMINATION
BY MR. KANDA:

Q Officer, you did not see this defendant
committing any traffic violations, correct?

MR. ALPERT: Objection.

THE COURT: Overruled.

THE W1TNESS: That's correct

MR. KANDA:

Q And, Officer, you testified on direct
examination that the car of the defendant was stopped for
the traffic violation, correct?

A That's correct.

Q And what was that traffic violation?

MR. ALPERT: objection.

THE COURT: Overruled. You asked. you opened it

up.

THE wITNESS: He littered from the vehicle.

MR. KANDA:

Q Did you see my client littering any stuff from
the car?

A No.

Q And, Officer, you said when the car was

stopped, did you approach from the driver's side or from

the passenger side?

 

 

 

 

5

A Driver's side.

Q Did you see my client sitting on the driver’s
seat?

A ¥es, I did.

Q Did you see any gun on his person?

A At that time, no.

Q You said that you asked for the driver’s
license, correct?

A Correct.

Q And did you ask for the driver’s license or did

your partner ask for the driver’s license?
A I believe I asked for a driver‘s license.
Q You believe. You are not sure?
MR. ALPERT: Objection.
THE COURT: Sustained.
MR. KANDA:
Q Officer, you said that he could not produce a

driver’s license?

A Correct.

Q After he was placed in custody, who searched
the car?

A l did.

Q And when you were standing outside, before you

searched the car, you could not see any gun in the car?

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

10
ll
12
13
14
15
16
17
18
15
20
21
22
23

24

 

MR. ALPERT: Objection. Asked and answered.
THE COURT: Overruled.

THE W1TNESS: That's correct.

MR. KANDA:

Q Did you see my client placing any gun in the
car?

A No.

Q My client didn't make any statement regarding
the ownership of the gun, correct?

A Correct.

MU. KANDA: Judge, I have no further questions.

REDIRECT EXAMINATION
BY MR. ALPERT:

Q You didn't see him commit an Illinois vehicle
code violation but another officer did, is that correct?

MR. KANDA: Objection. Leading.

THE COURT: Overruled;

THE W1TNESS: That's correct.

MR. ALPERT:

Q And that led you and other officers to pull
over this vehicle, is that correct?

A That's correct.

Q Everything that followed after that happened

because of the initial Illinois vehicle code violation,

 

 

 

 

correct?

A Correct.

MR. ALPERT: Nothing further.

THE COURT: Any cross examination based on that?

MR. KANDA: I have no further questions.

THE COURT: Finding of probable cause. Transfer to
the Chief Judge 8-25~05.

Defendant demands trial.
State, what about --

THE CLERK: Count two, no FOID, felony charge.
Finding on that?

THE COURT: Yes.

MR. KANDA: DDT.

THE CLERK: 03?

THE COURT: 06, felony count or misdemeanor?

THE CLERK: The three is a misdemeanor.

THE COURT: I have that as six?

THE cLERK: 0kay.

THE COURT: Three, four, and five are traffic
tickets.

MR. ALFERT: Non-suit.

THE COURT: Two of them are State.

MR. ALPERT: Nolle. Non-suit.

THE COURT: Non-suit and motion state SOL the other

 

 

 

10

11

12

13

14

15l

16

17

18

19

20

21

22

23

10
11
12
13
14
15
16
17
18
19
20
21
22
23

24

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 24 of 55 Page|D #:163

 

What about the defacement?

THE CLERK: That's a misdemeanor.

MR. ALPERT: Nolle.

THE COURT: Motion state nolle.
(Whereupon, the above-entitled
cause was continued to 8-25-08
for arraignment before the
Presiding Judge of the Criminal

Division.)

 

 

 

 

 

IN THE CIRCUIT COURT OF THE COOK JUDICIAL CIRCUIT

COOK COUNTY, ILLINOIS

I, PH¥LLIS YAEGER, an Official Court Reporter for the
Circuit Court of Cook County, Cook Judicial Circuit of
Illinois, do hereby certify that 1 reported in shorthand
the proceedings had on the hearing in the above-entitled
cause; that I thereafter caused the foregoing to be
transcribed into typewriting, which I hereby certify to
be a true and accurate transcript of the proceedings had

before the Honorable Judge of said Court.

 

Official Court Reporter

#084-002520
Dated this 5th day

of October 2010.

10

 

 

Case: 1:10-_Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 25 of 55 Page|D #:164

EXHIBIT K

WN

O¢DN\|U?U'|$~

?
12
13
14
15
16
17
18
19
20
21
22
237
24

15
16
17
18
19
20
21
22
23
24

IN THE CIRCUIT COURT OF THE CDOK JUDICIAL CIRCUIT
COOK COUNTV, ILLINOIS

THE PEOPLE OF THE
STATE OF ILLINOIS

vs. NO. 08 CR 15076-01

vvvvvv

JAVIER SANTIAGO,

REPORT 0F PROCEEDINGS of the hearing
before HON. HICHAEL BROWN, on the 11th day of March
2009.

APPEARANCES:

HON. ANITA M. ALVAREZ
State's Attorney of Cook County. by
MS. GERALDINE D'SOUZA,
MS. ASHLEE CUZA.
Assistant State's Attorney,
appeared for the People;

MR. ABISHI C. CUNNINGHAM, JR.
Public Defender of Cook Countyl by
MR. TIMOTHY 0'HARA,
Assistant Public Defender,
appeared for the Defendant.

DIONE R. RAGIN

2650 S. California Ave., 4002
Chicago IL 60608

Official Court Reporter
C.S.R. #084-004066

DATE: March 11, 2009

PAGES: 1 through 50

PROCEEDINGS
OPENING BY HR. O'HARA 4
OPENING BY MS. CUZA 5
WITNESS DX CX RDX RCX
GEORGE MOUSSA 7 23 33 39

!DQ`|C>CH&CJN-*

_\
C>

12
13
14
15
16

14
15
16

18
19
20
21
22
23
24

Case: 1:10-Cv-04691 Document #: 23-2 Filed: 12/15/11 Page 26 of 55 Page|D #:165

THE COURT: Mr. Santiago.

THE DEFENDANT: Hi, how are you doing?
Good morning.

THE COURT: Good.

MS. CUZA: For the record my name is
Ashlee Cuza. I am a law student licensed under
Illinois Suprema Court Rule 711. I'm under the
supervision of Assistant State's Attorney Jerry
D'Souza today.

MR. O'HARA: For the record Assistant
Public Defender Timothy O'Hara. I represent Mr.
Santiago who is in IDOC custody. I filed a motion
to quash arrest and suppress evidence. I believe
the Court should have a copy.

THE couRT: 1 do.

MR. O'HARA: I would be answering ready on
the motion, Judge. The only thing is I subpoenaed
three Officers to be in court and this was last on
the 6th. There was an Officer Sergeant Ronan that
was there on the Sth that's not here today. I may
need to see or may need to have his testimony in
order to complete my motion. There are two
Officers here today that we can at least start the

motion, Judge. I may not need Sergeant Ronanl but

if I do I would ask the Court to continue the
motion.

THE COURT: All right. State, are you
answering ready?

MS. CUZA: Judge, we are ready with the
two Officers that are present.

THE COURT: Let's use counsel table then.
All right.

Any preliminary matters with regard to the
motion.

MR. O'HARA: Just a motion to exclude.

MS. CUZA: we join in that motion. Judge.

THE COURT: Very well. Any opening
statements either side?

HR. O'HARA: Yes, Your Honor.

THE COURT: Very well.

MR. O'HARA: Judge, this case is from
July 27th, 2008. The arrest happened at about 3:45
in the afternoon. You will hear --

THE COURT: I am sorry. July 27thl '08.
At what time.

MR. O'HARA: At 3:45 in the afternoon.

THE COURT: Thank you. sir.

MR. O'HARA: You will hear, Judge, that at

(.\J|\J

`|O)Ul-h

10

12
13
14
15
16
17
1a
19
20
21
22
23
24

COD`|OUAQN-‘

_\_\_A_\_~_a_.
OCH#UN-\

17
15
19
20
21
22
23
24

about the intersection or near by the intersection
of Damen and Rice that Mr. Santiago was inside of a
car. You will also hear that there was an
anonymous tip that was made something about a gun
inside of a car at that area. There was a general
description given as far as the exact information
that was given in this anonymous tip. That will
become clear at the motion.

Judge, it is without corroboration on the
tip that was made that these foicers stopped the
car that Javier Santiago was in. There was no
firearm that was observed. There was no firearm
that were observed. There was nothing that would
corroborate any allegations that were contained
anonymous tip. I believe Florida V. JL will
control in this case, and we ask that you grant the
motion.

THE COURT: All right. State.

MS. CUZA: Yes, Judge. The testimony of
the police officers will show you that on July 27,
2008 a concerned citizen entered the 13th district
and spoke with the police officer a desk officer
there. That concerned citizen informed the Officer

that a man named Javier Santiago who was a Hispanic

male with long black hair was in possession of a
hand gun on that day. And the concerned citizen
further told the Officer that the defendant was
wearing a black tank top, black shorts, and black
gym shoes. The concerned citizen further relates
that the defendant would be driving a black
Volkswagen Jetta bearing the license plate X
176785. And the defendant would be located near
the intersection of Damen and Rice.

Police officers reported to that area and
confirmed every detail described by that concerned
citizen.

Further police officers were able to take
the license plate number on the car that they
observed matching the informants description and
run that into a computer system.

Based on the search into the computer,
system police officers were able to discover that
the man in that car was, in fact, Javier Santiago
and that he was driving without a valid driver’s
license. when police officers observed the
defendant toss litter out of his window of his car
and drive off, they subsequently pulled him over.

Found out that he did not have a valid driver’s

O(D@`AC>UlA(dN-\

_\_\
_.

12
13
14
15
16
17
18
19
20
21
22
23
24

1

14
15
15

18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 27 of 55 Page|D #:166

license, place him under arrest, and did, in fact,
perform a search of his vehicle and recovered a
gun.
Based on that, Judge, we ask that you deny
the defendant's motion.
THE COURT: Mr. 0'Hara.
MR. 0'HARA: Yesl Judge. I call Officer
Moussa to the stand.
THE COURT: Sir. raise your hand to be
sworn.
(witness sworn)
GEORGE MDUSSA
called as a witness by the State. having first been
sworn, was examined and testifies as follows:
DIRECT EXAMINATION
BY MR. 0'HARA:
Q. Good morning, Officer.
A. Good morningl sir.
Q. would you, please, state your full name
and spell your last name far the record.
A. George Moussa. M-o-u-s-s-a, star 5509,
0 where are you employed?
A. Chicago Police Department. Unit 153.
0

And how long have you been working for the

CPD?
A. Six years.
Q. what's your current unit of assignment at
this point right now?
Unit 153 mobile strike force.
Mobile strike force?
Yes.
what does that mean?

what is a mobile strike force.

D>_EJ>O>

Yeah. what is it?

A. we are a unit that targets high violent
areas throughout the City of Chicago.

Q. were you employed in the mobile strike
force on July 27, 2008?

A. No.

0. How were you employed on that date?

A. I was assigned to the 13th district gang

unit.
Q. And were you working alone on July 27.
A. No. I had a partner.
0. what was your partner's name?
A. Officer Hichael Tews,
Q. Is that spelled T-e-w-s?
A. Yesl sir.

C¢°m`|°)<!lhw|\)*

N N m N _. A_\ d _a _\ _\ _; _t ..
WNAO¢O®`|GJOILQN-\

N
.p

&WN

C(Dm\|d)°i

F

12
13
14
15
16
17
18
19
20
21

22
23
24

Q. Now. Officer, at about 3:45 were you on
duty?

A. Yes.

Q. were you in uniform or were you in plain
clothes?

A. Plain clothes.

Q. were you in a marked or unmarked squad
car?

A. Unmarked squad car.

Q. Did you have occasion to go to the
location of approximately Damen and Rice in the
city of Chicago?

A. Yes.

Q. Prior to going to that location did you
receive any information about that intersection or
about someone located at that intersection?

A. Yes.

Q. How did you resolve that information?

A. _I receive that information through my
sergeant.

Q. And is that Sergeant Ronan, R-o-n-a-n?

A. Yes.

THE COURT: Is that R-o-n-a~n.
THE wITNESS: Yes, sir.

BY MR. 0'HARA:

Q. where did this conversation that you had
with Sergeant Ronan take place?

A. It took place on the cell phone with my
partner.

Q. So he called your partner; is that
correct?

A. Yes.

D. So you yourself did not talk to Sergeant

Ronan,
A. No.
Q. Now. do you know how -- what time of day

it was when your partner Officer Tews had this
conversation with Sergeant Ronan?

A. I'm not sure of the exact time.

Q. About approximately how long before 3:45
in the afternoon was it?

A. 0h, I'd say maybe 3:15.

Q. Prior to receiving a call from Sergeant
Ronan, did you have any information about activity
at the location of Damen and Rice?

A. Yes.

Q. 0kay. And what was that information that

you had prior to the call from Sergeant Ronan?

10

Jdb)N

Ul

11
12
13
14
15
15
17
1a
19
20
21
22
23
24

OQ`lmChAb)N-\

NN_\.¢_\_\_._»_\_\‘..\
-\Olom`|a)c'lh¢¢[\)do

22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Fi|`ed: 12/15/11 Page 28 of 55 Page|D #:167

Prior to the call.

That's right?

.>P?°

No information at all.

0. So the reason why you went to that
location was specifically based on the call that
you received from Sergeant Ronan or excuse me your
partner received?

A. Yes.

0. Did your partner relay the information to
you that he had received from Sergeant Ronan?

A. Yes.

0. what did Officer Tews tell you?

A. Officer Tews said Sergeant said he had
information that a person was on a corner of Damen
and Rice that was in possession of a handgun in a
motor vehicle.

Q. Now. was a description given of that
person?

A. Yes.

0. And before I get to that, did Sergeant
Ronan or did Officer Tews tell you how Sergeant
Ronan came to that information?

A. Yes. sir.

Q. what did he say? what did Officer Tews

11

say?

A. Officer Tews related to me that the
information from the desk sergeant at 13th district
received information of a gentleman on the corner
of Damen and Rice that was in possession of a
handgun in his motor vehicle and that we are going
over there to check it out.

Q. So let me get this straight. The desk
sergeant told Sergeant Ronan and Sergeant Ronan
called Officer Tews. Is that fair to say?

A. Yes.

Q. And the information was about a person
with a handgun?

A. Yes.

Q. Did you relocate or did you go to that
intersection of Damen and Rice?

A. No, we went to, I believe, the
intersection of Chicago and Hoyne and sat there and

waited for further information from Sergeant Ronen.

Q. were you aware where Sergeant Ronan was?
A. Yes.
Q. Did you receive that information or was

Officer Tews?

A. Officer Tews.

12

O©m`|OUlJ>

11
12
13
14
15
16
17
18
19
20
21
22
23

24

bl|\l

OUle

12
13
14
15
16
17
18
19
20
21
22
23
24

Q. !n the intersection of Chicago and Hoyne
is approximately two blocks away from the
intersection of Damen and Rice; is that correct?

A. Yes.

Q. Could you see from Chicago and Hoyne an
individual located at Damen and Rice?

A. No.

Q. How long did you wait there at Chicago and
Hoyne?

A. we waited there until our sergeant
informed us on what he wanted us to do and what he
was doing.

Q. And you did get a call from the sergeant;
is that correct?

A. Yes. Sergeant was set on a fixed
surveillance post at Damen and Rice.

Q. And that's what you found out from Officer
Tews who spoke with Sergeant Ronan; is that
correct?

A. Yes.

Q. Did you at some point after receiving this
latter call from the Sergeant, did you relocate to
Damen and Rice?

A. Did I relocate to Damen and Rice?

Q. From Chicago and Hoyne?
A. No.
Q. So you remained at Chicago and Hoyne the

entire time?

A. while Sergeant Ronan was on surveillance,
yes.

Q. At some point did you leave Chicago and
Hoyne?

A. Yes.

Q. when was that?

A. when Sergeant Ronan observed the
individual that we were surveilling.

Q. I will stop you there. This is now
information you are receiving from Officer Tews; is
that correct?

A. Nowl this is information we are receiving
from Officer Tews, and now we are on a car to car
radio.

Q. So now you can hear what the sergeant is
saying?

A. Yes.

Q. And is this the first time you have
actually heard what the sergeant is saying?

A. Yes.

14

divith

F

12
13
14
15
16
17
18
19
20
21
22
23
24

-h<»|\}

01

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 29 of 55 Page|D #:168

Q. what did the sergeant say on the car to
car radio?

A. The sergeant said that at point the
subject now is getting into a vehicle. Just threw
a cigarette wrapper outside the vehicle and is
going eastbound on Rice to Damen.

0. In that car to car radio call did Sergeant
Ronan say anything about observing a handgun?

A. No.

Q. Did Sergeant Ronan say anything about
seeing furtive movements of hiding what he thought
to be a handgun?

A. No.

Q. Nowl and Sergent Ronan stated over that
car to car call the subject was going eastbound on'
Rice; is that correct?

A. Eastbound on Rice. Northbound on Damen.

Q. what did you do after you received that
car to car oall?

A. After that we went down Holman to Iowa
eastbound on Iowa and we curbed the vehicle at Iowa
and Damen.

Q. So you went northbound on Hoyne; is that

correct?
15
A. Uh-huh.
0. Is that a yes?
A. Ves.
Q. Pass Rice?
A. Pass Rice.
0. To Iowa?
A. To Iowa.
0. And then he turned right and went

eastbound on Iowa?

A. Eastbound on Iowa.

Q. what did you see when you were going
eastbound on Iowa?

A. I didn't see anything eastbound on Iowa.

Q. Did you see a car specifically?

A. we saw the car. we saw the vehicle that
was the description of the vehicle that was given
to us on Damen.

Q. It was still on Damen?

A. Yes.

Q. NowI were you driving rapidly at that

A. Driving.
Q. were you driving or was Officer Tews

driving?

 

\|U)Ul'>UN

co

`|U>Ul¢d(»|\l

O{°m

11
12
13

15
16
17
18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 30 of 55 Page|D #:169

Officer Tews was driving I believe.
And so you were the passenger?

Yes.

D >D >

And as you were coming eastbound on Iowa
you said you saw a car that had matched a
description; is that correct?

A. when we came eastbound on Iowa. when we
got the Damen. we stopped our vehicle there. Then
we noticed a vehicle that was -» the information on
the vehicle that was given us with the handgun and
also committed the traffic littering and we curbed
the vehicle there.

0. You hadn't seen the littering yourself;
correct?

A. No.

Q. when you got out of your car and you
parked it or your parked the car at the
intersection of Iowa and Damen; is that correct?

A. Uh-huh.

Q. Is that a yes?

A. Yes.

Q. You got out of your car?
A. we actually pulled on to Damenl got out of

our vehicle, and -»

0. when you got out of the vehicle, did you

see a car?

A. Yes.

Q. was the car moving?

A. No.

Q. It was parked?

A. It was stopped.

0. where was it stopped?

A. In front of our vehicle.
Q. Go ahead.

A. No, go ahead.

0. Did your car pull in front of this other
vehicle?

A. ¥es.

0. was it blocking the vehicle's movement?

A. Yes.

Q. And the other car that we are speaking of,
is that a black Jetta?

A. Yes.

Q. Did you see who was driving that black
Jetta?

A. Yes.

Q. Do you see that individual that was

driving the black Jetta do you see him in court

_\

.d
O(°m`|@¢!l~hw|\}

_\
_.

12
13
14
15
16
17
18
19

'20

21
22
23
24

OLQQ`|G?Ul-hWN'*

._~_\_\
N._\

13
14
15
16
17
18
19
20
21
22
23
24

today?

A. Yes.

Q. Could you. please, point to him and
identify an article clothing?

A. Gentleman wearing the yellow IDOC suit.

MR. 0'HARA: Your Honor. I ask that the
record reflect in court identification.
THE COURT: Very well.

BY HR. 0'HARA:

Q. You said that black Jetta was stopped; is
that correct?

A. Yes.

Q. what. if anything, did you see Hr.
Santiago doing out of that car?

A. At that point nothing.

Q. Did you see a gun?

A. No.

Q. Did you see any furtive movements that you
thought to be him hiding a gun?

A. No.

Q. Did you have your gun drawn?

A. I had my gun at a low ready.
Q. So it was out?
A.

Yes.

Q. And what did you do?

A. At that point I moved into a position to
cover my partner, my partner approached the
driver’s side of the vehicle.

Q. And which side -- were you behind Officer
Tews at that time?

A. I was on the side of Officer Tews.

Q. was Officer Ronan near by this car at that

A. Officer Ronan was approaching from behind.
Q. From the south?
n A. From the south.

Q.' what did you see happen as you both
approached the car?

A. Officer Tews walked to the driver's side
of the vehicle. They asked to -- if he had license
and insurance which the defendant could not
produce. we had the gentleman step out of the
vehicle, and we placed him in custody at that
point.

Q. Nowl prior to Officer Tews asking for
license and insurance, did you say anything to Hr.
Santiago?

A. No.

20

_O€DO`|O?Ul-hblN-\

AAA_\
wN-\

14
15
16
17
15

20
21
22
23
24

(D¢Om`|¢}?¢’i-h¢.\l'\)A

m~NNN_\_.d_\_\_\_\_-l_\_\
AUNAO(D@`IG>Ol-DWN-\

Q. Did Officer Tews say anything to Hr.
Santiago?

A. I believe the only thing Officer Tews said
was asked for a driver's license and insurance.

Q. At this point though his car was blocked
by your car; is that correct?

A. Yes.

0. Now, how far away was your car from his
car?

A. Couple feet.

0. Now, did you or your partner place Hr.
Santiago under arrest?

A. Yes.

Q. You then conduct a search of the car?

A. My partner conducted a search of the

vehicle.

0. Did you observe your partner recover
anything?

A. Yes.

Q. where did your partner recover -- what did

you observe him to recover?
A. My partner recovered a steel revolver
handgun from underneath the center console of the

vehicle.

21

Q. when you say the center console. what do
you mean?

A. Center console where you -- center
console.

0. Is it a part that is between the driver
side and the passenger side?

A. Yes, right in the middle.

0. It was below the -- what level was the
center console. was it below the level of the door
or was it about arm level or shoulder level?

A. It was probably at arm level.

Q. To your knowledge did Mr. Santiago have
any warrants out for his arrest that day?

A. No.

MR. 0'HARA: May I just have a moment?
THE COURT: Sure.
BY MR. 0'HARA:

0. Officer, prior to you pulling your car in
front of Mr. Santiago's car. did you observe any
traffic violations?

A. No. n

0. And no tickets were issued in this case;
is that correct?

A. Yes.

22

O!Dm`lol¢|l¢§

_\

11
12
13
14
15
16
17
18
19
20
21
22

l\:

b

QOD`IG?UI

H

12
13
14
15
16
17
18
19
20
21
22
23

24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 31 of 55 Page|D #:170

HS. CUZA: Objection.
THE COURT: well. basis of the objection?
MS. CUZA: Relevance, Judge.
THE COURT: Counsel, how is this relevant.
MR. 0'HARA: It just goes to whether or
not a violation occurred.
THE COURT: I will allow the testimony.
BY MR. 0'HARA:
Q. Did you issue any traffic violations to
Mr. Santiago?
A. Officer Tews issued the traffic citations
to Hr. Santiago.
Q. You said plural citations were issued?
A Yes.
Q. was that for driving without a license?
A Yes.
MR. 0'HARA: Thank you, Officer. That's
all I have of the witness.
THE COURT: Cross.
CROSS EXAMINATION
BY MS. CUZA:
Q. Officer Houssa, on July 27, 2008 you were
working in your capacity as a Chicago Police

Officer?

23

A. Yes, ma'am.
Q. And on that day you were working with
Officer Tews; is that correct?

A. Yes. ma'am.

0. The two of you were in an unmarked car;
correct?
A. Yes.

0 You were in plain clothes?

A. Yes, ma'am.

0 And on that day you were working for the
13th district; is that correct?

A. Yes.

Q. Around 3:15 in the afternoon you received
»- your partner Officer Tews received a call from
Sergeant Ronan; is that right?

A. Yes, ma'am.

Q. And Sergeant Ronan informed Officer Tews
that he had received a phone call from the desk
sergeant at the 13th district; is that right?

A. Yes, ma'am.

HR. 0'HARA: Judge, I'm going to object as
to the testimony that occurred between Sergeant
Ronan and Officer Tews as being outside the scope

of this witness's foundation.

24

OUl#UN

`|

11
12
13
14
15
16
17
1a
19
20
21
22
23
24

\|OUi-h

_»
Q¢DQ

12
13
14
15
16
17
18
19
20
21
22
23
24

THE COURT: well. you brought this out on
direct examination that he learned from foicer
Tews that Officer Tews was told by Sergeant Ronan
these things. And so it's just a rehash of what I
have heard on direct.

MR. 0'HARA: Judge, my objection is as to
the form of the question that what Sergeant Ronan
told the Officer Tews he only knows because Officer
Tews told him so.

THE COURT: And 1 understand it your for
that purpose. Objection overruled.

BY MS. CUZA:

Q. Officer Tews relayed to you that Officer
Ronan had informed him that the desk sergeant said
a citizen entered the 13th district on that day?

A. Yes, ma'am.

Q. And the citizen didn't wish do reveal his
or his her name at that time; is that correct?

A. Nol ma'am.

Q. But the citizen had approached the desk
sergeant at the police station?

A. Yes, ma'am.

Q. And the citizen told the desk sergeant

that a man named Javier Santiago was in possession

25

of a handgun; is that right?

A. Yes, ma'am.

Q. And the citizen informed the desk Sergeant
that this man Javier Santiago was a Hispanic male;
is that correct?

A. Yes, ma'am.

Q. And the citizen informed the desk sergeant

that Javier Santiago would be wearing a black tank

top?
A. Yes, ma'am.
0. And black shorts?
A. Yes, ma'am.
Q. Also`black gym shoes?
A. Yes, ma'am.
0. And the concerned citizen also informed

the desk sergeant that Javier Santiago informed the
desk sergeant that Javier Santiago would be driving
a black Volkswagen Jetta?

A. Yes.

Q. And that Jetta would have a license plate
number X 176 785?

A. Yes, ma'am.

Q. The concerned citizen told the desk

sergeant that he would be found near the

26

O(D(H`IG!O!AO|N-*

_\

F

13'
14
15
16
17
10
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 32 of 55 Page|D #:171

intersection of Damen and Rice?

A. Yes, ma'am.

Q. Officer Ronan told Officer Tews that based
on that information he reported to the area of
Damen and Rice; is that right?

A. Yes, ma'am.

Q. In fact, Sergeant Ronan set up
surveillance at the intersection of Damen and Rice.

A. Yes, ma'am.

Q. He set up surveillance in the second story
of a building located on the corner of Damen and
Rice?

A. Yes, ma'am.

Q_ And Officer Ronan told Officer Tews that
from his position in the building on the corner of
Damen and Rice he could see a man fitting the
description given by the informant; is that
correct?

A. Yes, ma'am.

Q. In fact, Officer Ronan told Officer Tews
that he could see a Hispanic male; correct?

A. Yes, ma'am.

Q. And that that Hispanic male was wearing a

black tank top?

27

Yes, ma'am.
Black shorts?
Yes, ma'am.

Black shoes?

_>o>_o>

Yes, ma'am.

Q. And that he was sitting in the driver's
seat of the black Volkswagen Jetta?

A. Yes, ma'am.

Q. And that Jetta had the license plate
number of X 176 785?

A. Yes, ma'am.

0. And that Jetta was parked on the side of
Damen near the corner of Damen and Rice?

A. Yes, ma'am.

Q. Based on that information you and your
partner relocated; correct?

A. Ves, ma'am.

Q. You relocated to approximately a block
away?

A. Two blocks away. Hoyne and Chicago.

0. And at that area when you arrived at that
location you performed a computer search; is that
correct?

A. Yes, ma'am.

28

O¢OCD`IO?U|A

11
12
13

15
16
17
18
19
20
21
22
23

24

w

G)Ulé

11
12
13
14
15

16

18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 33 of 55 Page|D #:172

Q. In fact, you ran the license plate number
X 176 785 into the leads computer system?

A. Yes, ma'am.

0. And the leads computer system revealed
that the license plate of that car was registered
to a man named Javier Santiago?

A. Yes, ma'am.

Q. You took that information and you entered
it into another computer database called I-clear;
is that correct?

A. Yes, ma'am.

Q. And I-clear revealed that Javier Santiago
with this license plate number had a specific birth
birthday; is that correct?

A. Yes, ma'am.

Q. You took that information and entered it
back into the leads system again?

A. Yes, ma'am.

Q. And the leads system then showed you an
arrest report; is that correct?

A. The leads system gives us a print out of
the individual that we were searching if he had a
valid driver's license. Also came up that he was

active. He was active on parole. Also came up he

29

had an officer safety alert for gang member.

Q. So that information in the leads system
told you that this man did not -- Javier Santiago
did not have a driver's license'.7

A. Did not.

Q. In fact, told you that this man had never

been issued a license; is that correct?

A. Yes, ma'am.

Q. And also told you that he was on parole?
A. Yes, ma'am.

Q. You were also able to view a photo of

Javier Santiago on that system?
A. Not the leads system. From the I-clear.
0 From the I-clear system?
A. Yes, ma'am.
Cl And did you describe that photo to -- or
did -- I am sorry. Did Officer Tews describe that
photo to Officer Ronan?

A. Yes, ma'am.

Q. And did Officer Ronan confirm that that
matched the description of the individual that he
was observing?

A. Yes, ma'am.

Q. Officer Ronan then made a radio call to

30

_\

molwa

10
11
12
13
14
15
1a
17
1a
19
20
21
22
23
24

w

Q¢°Q`IC}U!J>

11
12
13
14
15

17
1a
19
20
21
22
23
24

your car?

A. Yesl ma'am.

0. Officer Ronan told you that he observed
the individual in his car; correct?

A. Yes, ma'am. 7

Q. Toss a packaging of cigarette wrapper out
of his car window; is that right?

A. Yes, ma'am.

D. Officer Ronan, then told you that he saw
this man driving northbound on Damen; is that
right?

A. Yesl ma'am.

Q. At which time you and your partner
relocated; correct?

A. Yes, ma'am.

Q. You drove north on Hoyne and then you
drove east on Iowa?

A. Yes, ma'am.

Q. And you curbed the vehicle at that
looation?

A. Yes, ma'am.

Q. In fact, you curbed the defendant from the
front; correct?

A. Yesl ma'am. On Damen off of Iowa.

31

Q. And Officer Ronan came up from behind: is
that correct?

A. Yes, ma'am.

Q. You and your partner Officer Tews
approached the driver's side of the defendant's
vehicle?

A. Yes, ma'am.

Q. Your partner asked the defendant for
license and ragistration?

A. ¥es. License and insurance.

Q. License and insurance?

A. Yes, ma'am.

Q. The defendant was not able to produce
license and insurance to Officer Tews?

A. No, ma'am?

Q. At which point you placed the defendant
under arrest?

A. Yes, ma'am.

Q. And you placed the defendant under arrest
for driving without a valid driver license?

A. And insurance and the littering.

Q. Subsequently Officer Tews performed a
search of the defendant's vehicle; correct?

A. ¥es, ma'am.

32

UJ`IG?U!§¢A>N

O<D

16
17
1a
19
20
21
22
23
24

`IU)U'|->UN

O(°m

17
18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 34 of 55 Page|D #:173

0. officer Tews was able to recover or
recovered a chrome revolver from the defendant's
car?

A. Yes, ma'am.

MS. CUZA: Can I have a moment, Judge?
THE COURT: Sure.
BY MS. CUZA:

Q. Officer, how did you know that the
photograph you viewed on leads was the photograph
of the defendanc?

A. How did I Know?

Q. Let me rephrase. were you able to confirm
once you pulled the defendant over that that
photograph was. in fact, the same person that you
viewed in the car?

A. Yes, ma'am.

MS. CUZA: Nothing else, Judge.
THE COURT: Redirect.
HR. 0'HARA: Yes, Your Honor.
REDIRECT EXAMINATION
BY MR. 0'HARA:
Q. Officer, the information that you're

receiving from Officer Tews had been delivered to

him by Sergeant Ronan? Right?

33

A. Yes.

0. And that information had been delivered
from Sergeant Ronan by the desk sergeant? Right?

A. Yes.

Q. And I want to talk about that initial
information that information about the meeting at
the 13th district that some anonymous citizen had.
There was no name given of that individual;
correct?

A. l don't know. I was not there at the -- I
wasn't in the 13th district.

Q. Right. Because you weren't there so you
didn't know if there was a name that was givens
Right?

A. Yesl sir.

Q. The information that you received was that
this was an anonymous citizen; correct?

A. Yes.

0. A person did not want to give their name?
Right?

A. Yes.

Q. And that this citizen you didn't know if
that citizen had been used before as an informant?

Right?

34

Jd¢\)N

10

12
13
14
15
16
17
18
19
20
21
22
23
24

A. 0h, I have no idea.

Q. And Sergeant Ronan didn't have any idea
that this individual had been used before? Right?
A. ¥eah. All we know it was a citizen that
walked into the 13th district station, talked to
the desk sergeant.

Q. And you didn't know if that citizen's
information was true or not at the point that you
received it: correct?

A. No.

Q. Now. do you know when this visit occurred
to the 13th district by this anonymous citizen?

A. I do not.

0. And to your knowledge did Officer Ronan
tell Officer Tews about when this individual had
gone into the police station at the 13th district?

A. I couldn't answer that question. sir.

Q. So how long before 3:45 would you be
unable to tell the Court about when exactly that
information was received by Officer Ronan or
Sergeant Ronan?

A. Well, when Sergeant Ronan received the
information he immediately contacted us.

Q. So it's when the desk sergeant notified

35

Sergeant Ronan that we don't know when that
happened; correct?

A. Yes.

0. Now. you testified that you had a picture
of Javier Santiago; is that correct?

A. Yes.

Q. And did the anonymous citizen give the
desk sergeant a name?

A. A name.

Q And a date of birth?

A. I don't know about the date of birth.

0 But in any event you testified that you
searched first the leads system; is that correct?

A. Searched first the I-clear.

Q. You searched I-clear first?

A. First we did the leads. we ran the plate
of the vehicle on the leads to get the information
back of the vehicle and then from there we went to
I-clear.

Q. Now, it's your testimony that that was
done right at the same time or within a few
minutes?

A. Yes.

Q. So the plate number was run prior to his

36

`I°)O'l&(»l\}

KDQ

12
13
14
15
16
17
18
19
20
21
22
23
24

A(A>l\)

11
12

14
15
16
17
18
19
20
21
22
23

24

arrest, is that correct, is that your testimony?

A. Plate of the vehicle.

0. Yes.

A. The information received on the vehicle we
ran that plate.

Q. All right. Now, in that was -- you didn't
have his date of birth though prior to running the
plate number; is that correct?

A. Yes.

0. You said there was a picture that was on

the I-clear system?

A. Yes.

Q. That was in your car?

A. Yes.

0. Not in Sergeant Ronan's car?
A. No.

0. So then you or Officer Tews had to
describe to Sergeant Ronan the picture; is that
correct? _

A. Well, Sergeant Ronan described when we
first received the call he described the individual
to Officer Tews which then we went to I-clear and
pulled up that person that we were looking for.

Q. To your knowledge Sergeant Ronan didn't

37

have a picture of the individual himself; correct?

A. I am a not sure. He could have pulled it
up on I-clear also. He has the same access to it
in his vehicle that we do.

Q. But to your knowledge you didn't -- he
didn't tell you that he was looking at a picture on
I-clear? Right?

A. No.

Q. And you filled out a police report in this

case?
A. Yes.
0. The police report -- the arrest report?
A. Yes.
Q. And you were the Attesting Officer?
A. Yes.
Q. And there is a quite a large narrative

section in the arrest report?

A. Yes.

0. And in that narrative section you never
mentioned that you observed a photo of Hr. Santiago
on the I-clear system? Right?

A. I don't think so.

Q. Would you like to see a copy of your

report?

38

#¢J\)N

Ul

11

12
13
14
15
16
17
18
19
20
21
22
23
24

O(D®`|OCD$>UN-l

_`

12
13
14

16
17
18
19
20
21
22
23
24

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 35 of 55 Page|D #:174

A. Yeah. sure if you want to.
HR. 0'HARA: I will mark this as
Defense 1. May I approach, Your Honor?
THE COURT: Sure.
BY MR. 0'HARA:

Q. I am showing you what I have marked as
Defense Exhibit Number 1. That's your arrest
report; correct?

A. Yes.

0 Go ahead and review the report.

A. No, it's not in there.

Q Thank you.

MR. 0'HARA: May I just have one moment?
THE COURT: Sure.
MR. 0'HARA: Judge, that's all I have.
Thank you.
THE COURT: Recross.
MS. CUZA: Briefly, Judge.
CROSS EXAMINATION
BY MS. CUZA:

Q. Officer, in the narrative of that same
arrest report you indicated that further
investigation revealed that the arrestee did not

have a valid driver's license; correct?

39

A. Yes.

Q. And part of that further investigation
involved going into the I-clear system; correct?

A. I-clear and leads.

Q. And going into the I-clear system is what
revealed that photo; correct?

A. Yes.

MS. CUZA: Nothing else, Judge.

THE COURT: Very well. Just a minute
please,

Officer, couple questions about your
testimony. If I understand your testimony
correctly once you got to Damen and Iowa Hr.
Santiago's car was already stopped.

THE wITNESS: Nol Hr. Santiago was driving
northbound on Damen.

THE COURT: And so you stopped it?

THE wITNESS: We stopped it.

THE COURT: You saw Hr. Santiago driving?

THE wITNESS: Yes.

THE COURT: All right. Also you said that
your partner searched the car and that a revolver
was found under the center console; is that what

you testified to?

40

(»>N

h

O(D®`loiul

12
13

15
16
17
18
19
20
21
22
23
24

`|CDU\J>O)N

O¢DQ

11
12
13
14
15
16

18
19
20
21
22
23
24

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 36 of 55 Page|D #:175

THE W1TNESS: Yes.

THE COURT: All right. Tell me what you

mean by that. Are you saying inside the console or
underneath the console.
THE wITNESS: My partner went inside the

console. We didn't find anything. As we were
searching, we went into the backseat and noticed
that center console was loose. At which point he
lifted up the center console from the bottom of the
floor which was not tied down by any bolts or
anything. And when that lifted up, the pistol --
or excuse me. The handgun was laying on the carpet
underneath the center console.

THE COURT:

All right. Any questions

based on the Court's questions?

HR. 0'HARA: No, Judge.

THE COURT: State.

MS. CUZA: Nothing, Judge. Thank you.

THE COURT: Officer. Thank you for your
testimony. You are excused from the witness stand.

Mr. 0'Hara.

MR. 0'HARA: I have no further witnesses.

The petitioner would rest.

THE COURT: Petitioner rests. State.
41
MS. CUZA: Judge, at this time I'd like to

make a motion for directed finding.

THE COURT: Very well. Any argument on
that motion?
MS. CUZA: No, Judge.

THE COURT: Hr. 0'Hara. anything?

HR. 0'HARA: No, Judge.

THE COURT: All right. I have considered
the motion for directed finding and I find that as
follows: I find that Mr. Santiago had a
constitutionally protected interest in himself and
the automobile that he was driving back on July 27.
2008. I find that that constitutional right was
intruded upon when police officers curbed Hr.
Santiago driving that vehicle on or about Damen and
Iowa. And at that point Mr. Santiago's
constitutional rights were intruded upon. I find
that of there was justification for intruding upon
Mr. Santiago's constitutional rights.

I find that the justification was based on
the testimony that I have heard Sergeant Ronan
personally was aware that Mr. Santiago committed
the offense of littering. The Court takes judicial

notice that under Section 415 ILCS 105-4 littering

42

O¢)'|Jdbl|\}

moith

12
13
14
15
16
17
18
19
20
21
22
23
24

which is the throwing of any piece of garbage on

any public way is a class B felony.

HR. 0'HARA: Felony.
THE COURT: I am sorry. Class B
misdemeanor. And as a result of -- because

Sergeant observed Hr. Santiago commit a class B
misdemeanor he does have the authority under 725
ILCS 107-4A3 to arrest Hr. Santiago. The fact that
Hr. Santiago drove away for a period of time and
was curbed at another location from where he
committed this misdemeanor offenses of no moment.
Probable cause to make an arrest for that
misdemeanor is developed then. Hr. Santiago's
vehicle was curbed.

I think under the circumstance even if you
look at the anonymous tip and that information
being confirmed Hr. Santiago was driving a vehicle.
The vehicle was curbed. I think it's reasonable
for the police to ask for a driver's license and
registration. Under the circumstances Hr. Santiago
couldn't produce that. Hr. Santiago was placed
under arrest for failure to produce a valid

driver's license.

I find that it was probable cause to

43

arrest Mr. Santiago. The question then becomes
whether or not the search of the automobile was a
search incident to an arrest. It would appear that
the search was immediate and contemporaneous with
the search with the arrest of Mr. Santiago.

As such I do find that the search was
incident to the arrest of Hr. Santiago such that it
is and as a result I don't find that Mr.

Santiago's constitutional rights were violated. So
with that the motion to quash arrest and suppress
evidence will be granted.

Do you need time to speak with your
client, Hr. 0'Hara. about how you want to proceed
in this case?

MR. 0'HARA: Judge, if we can pass this
briefly.

THE COURT: Sure. Pass the case briefly

(Whereupon the matter was passed and

recalled)
THE COURT: All right. Recall of the
Santiago matter. Mr. 0'Hara.

HR. 0'HARA: Your Honor, at this time I
would be requesting that Mr. Santiago sign a jury

waiver.

44

N

\|U)Ui-§W

10
11
12
13
14
15
16

1a
19
20
21
22
23
24

OUT`|G)(DAUN

_\_._»_\
WN-\

14
15
16
17
1a

20
21
22
23
24

Case: 1:10-cv-O4691 Document #: 23-2 Fi|'ed: 12/15/11 Page 37 of 55 Page|D #:176

THE COURT:7 All right. Mr. Santiago, you
have a personal constitutional right to decide what
kind of trial you wish to have. ¥ou can have a
jury trial where 12 citizens are selected. They
will determine whether or not the State can meet
its burden of proof. You can waive your right to a
jury and have a bench trial. And in a bench trial
I decide whether or not the State meets its burden
of proof.

Have you decided what kind of trial you
want to have? Bench trial, sir?

THE DEFENDANT: Yes.

THE COURT: Hr. Santiago, I have a
document that says you waive your right to a jury
trial. This is your signature on the document?

THE DEFENDANT: Yes.

THE COURT: Now, I find that you freely
and voluntarily, knowingly, and intelligently waive
your right to a jury trial. I will accept the jury
waiver. All right.

I will adopt the testimony taken at the
motion, State.

MS. D'SOUZA: we do have some additional

evidence.

45

THE COURT: As far as the evidence taken
at the motion I'll adopt that.

MS. CUZA: Yes.

THE COURT: Mr. 0'Hara?

MR. 0'HARA: No objection, Judge.

THE COURT: All right. Additional
evidence State.

MS. CUZA: Yes, Judge. At this time we
would be entering as People Number 1, vehicle
records that prove that the Defendant Javier
Santiago is the registered owner of the vehicle in
question.

THE COURT: All right. Judge. we would
also be entering as People Number 2 a certified
copy of conviction for case number 00 CR 27834 that
shows that the defendant was convicted for the
offense of armed robbery.

All right. Any objection to those
exhibits. Mr. 0'Hara?

MR. 0'HARA: I would object for the record
to the vehicle records.

THE COURT: All right. These are
certified copies from the Secretary of State.

HS. CUZA: Yes, Judge.

46

TCHA@N

!Om\|

10
?

12
13
14
15
16
17
18
19
20
21
22
23
24

_\

multh

10

12
13
14
15
16
17
18
19
20
21
22
23
24

THE COURT: Over their objection, they
will be admitted.

Any other evidence, State.

HS. CUZA: Judge, can we briefly call one
of the Officers.

THE COURT: For what purpose.
HS. CUZA: To establish that he did not
have a valid firearm owner's identification card.

MR. 0'HARA: I will stipulate that he did
not have a valid firearm FOID card.

THE COURT: Stip. No FOID card.
Anything else?
MS. CUZA: That's alll Judge.
THE COURT: State rests.

MS. CUZA: Yes, Judge.

THE COURT: Mr. 0'Hara.

MR. 0'HARA: Judge, I have no testimony.
I would like to just say one brief thing in
argument.

THE COURT: Very well.

MR. 0'HARA: Based on the location where
this gun was found, Judge, I don't believe that
there is any intent that the State has established.

Furthermore, the vehicle records that the State has

47

just introduced over the defense objection says
that. I believe, says that the active date for the
registration is 7/21/08 which is one week before
the arrest in this case. So the vehicle was very
very recently if the Court considers it to be in
his ownership was very very recently in his
ownership. So, Judge, I don't believe the State
has met their burden and we ask you to find him not
guilty.

HS. CUZA: Judge, the defendant was
driving the vehicle at the time and it was
registered in his name at the time he was pulled
over. The gun was recovered under the center
console which was in the immediate grabbing area of
the defendant. Based on that we ask that you find
the defendant guilty.

THE COURT: All right. I have considered
the evidence in this matter.

Hr. Santiago, somebody had your number
that day. Someone had your number. They knew
exactly what to do in order to get you picked up by
the police. And the testimony that I have heard
indicates that someone had your numberl went to the

police. described youl your car, where you'd be,

48

_.

QIDG\|OCHACI)N

Q¢°m`|°>¢)'lh(»N-\

.._\_._\
QN-\

14

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 38 of 55 Page|D #:177

and that a gun could be found in your car. Based
on the location of where the gun wasl I find that
the State has not met its burden of proof with
regards to the knowledge element.

If it had been found inside the center
console different story. But in order to find the
gun you had tc lift up console from the back and it
was underneath the console.

I find based on that evidence that the
State hadn't met its burden of proof with regards
to knowing possession. As a result it will be a
finding not guilty.

Defendant discharged this case.

THE DEFENDANT: Thank you very much.
Thank youl Your Honor.

MS. D'SOUZA: We ask for a confiscate and
destroy order on the weapon.

THE COURT: C and D order allowed.

(Which were all the proceedings

had in the above entitled cause)

49

IN THE CIRCUIT COURT OF THE COOK JUDICIAL CIRCUIT
COOK COUNTYI ILLINOI$

I, DIONE R. RAGIN, Official Court Reporter of
the Circuit Court of Cook County, do hereby certify
that I reported the proceedings had in the
above-entitled cause, that I thereafter caused the
foregoing to be transcribed into typewriting, which
I hereby certify to be a true and accurate

transcript of the proceedings had on this date.

W?§€e~

IoNE R. RAG!N,
Official Court Repor er
#084-004066 `

50

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 39 of 55 Page|D #:178

EXHIBIT L

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 40 of 55 Page|D #:179

ASOSDFF
THOMAS SURMA

JUNE 24, 2011

 

10

12

13

14

15

16

17

18

19

20

21

22

23

24

 

11.

IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

JAVIER SANTIAGO, )
Plaintiff, )

vS. ) No.
Sean Ronan, Thomas Surma, )
Michael Tews, et al., )

Defendants. k )

DISCOVERY DEPOSITION OF
THOMAS SURMA
cHICAGO, ILLINOIS
JUNE 24, 2011
ATKINSON-BAKER, INC.
COURT REPORTERS

(800) 288-3376
www.depO.COm

REPORTED BY: DONNA J. SMUDA, CSR NO.

FILE NO: ASOSDFF

10 CV 4691

084-004257

 

 

ATKINSON-BAKER, INC., COURT REPORTERS

Page' 1
(800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 41 of 55 Page|D #:180

A505DFF
THOMAS SURMA JUNE 24, 2011

 

1 IN THE UNITED STATES DISTRICT COURT 1 1 N D E X
2 NORTHERN DISTRICT OF ILLINOIS 2 Wl'l`NESS EXAMINATION
3 EASTERN DIVISION 3 THOMAS SURMA
4 4 By MS. Baumann 5
5 JAVIER SAN`|'[AGO, ) 5
6 Plaintiff, ) 6
7 vs. ) No. 10 CV 4691 7
8 Sean Ronan, Thomas Surma, ) 8
9 Michael Tews, et al., ) 9
10 Defendants. ) 10 E X H I B I T S
11 1 1 NUMBER MARKED FOR ID
1 2 1 2
1 3 13
14 Discovery deposition of THOMAS SURMA, 14
15 taken on behalf of Plaintiff, at 20 South C|ark 15
16 Street, Suite 500, Chicago, Illinois, commencing 16
17 at 2:15 p.m., Friday, June 24, 2011, before 17 (NO EXHIBI`|'S MARKED)
18 Donna J. Smuda, CSR No. 084-004257. 18
1 9 1 9
2 O 2 0
2 1 2 1
2 2 2 2
2 3 2 3
24 2 4
Page 2 Page 4
1 APPEARANCES: 1 (Whereupon, the witness was
2 BAUMANN & SHULDINER 2 duly sworn.)
3 BY: MS. DEIDRE BAUMANN 3 THOMAS SURMA,
4 20 South C|ark Street 4 called as a witness herein, was examined and
5 Suite 500 5 testified as follows:
6 Chicago, Illinois 60603 6 EXAMINATION
7 (312) 558-3119 7 BY MS. BAUMANN:
8 Representing the Plaintiff; 8 Q. State your name, please.
9 9 A. Thomas Adam Surma, S-U-R-M-A.
10 CITY OF CHICAGO 1 0 Q. Where do you work?
11 FEDERAL CIVIL RIGHTS LITIGA`|'[ON DIVISION 11 A. Chicago police department
12 BY: MS. ANNE K. PRESTON 12 Q. In what capacity?
13 -and- 13 A. I do Held investigations. I'm in the
14 MR. CHRISTOPHER WALLACE 14 intelligence section of the Chicago police
15 30 North LaSa|le Street 15 department
16 Suite 900 16 Q. And how long have you been doing that?
17 Chicago, Illinois 60602 17 A. I have been doing that -- it will be
18 (312) 742-4045 18 three years this December.
19 Representing the Defendants. 1 9 Q. Is that what you were doing July 27,

[\)
O
[\.)
O

2008?

 

 

 

21 ALSO PRESENT: 21 A. No, I was not. At that time I was
22 Mr. Sean Ronan 22 assigned to the 25th District.
23 Mr. Michael Tews 23 Q. What were you doing at 25?
24 24 A. Basically I was working a 2506 car or
Page 3 Page 5

 

2 (Pages 2 to 5)
ATKINSON-BAKER, INC., COURT REPORTERS (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 42 of 55 Page|D #:181

 

 

  

 

 

 

 

 

 

ASOSDFF
THOMAS SURMA JUNE 24, 2011
1 basically a beat car. 1 Mr. Santiago?
2 Q. What was your involvement with this 2 A- NOt that 1 r€Ca", HO-
3 particular incident with Mr. santiago? 3 Q- How about any Conversations with any of
4 A. This particular involvement, we were 4 the officers °“ the sce"e?
5 working a squadra| that day, which I believe was 5 _ _MS' PRESTON: Other than What he has
6 beat 257, which is the wagon. We were coming : ;?t;;:d;XL-`;MANN_
7 back from a prisoner transport somewhere in the 8 Q' other than` what you have testified t°_
8 downtown area. We were driving down Damen. 9 A_ NO_
9 Basically, we were waved down by these officers. 10 Q_ Do you have any personal knowledge of
10 Q- Would it be C°mm°n PraCtiCe for you 35 a 11 the cause for the arrest in this matter?
11 driver of a squadra| to be waved down from 12 MS_ pRE$TON; Objection, vague
12 someone from another district? 13 BY THE W1TNESS:
13 MS. PRESTON: Objection, vague. 14 A. No. They asked if we could transport
14 BY THE WITNESS: 15 the prisoner to the 13th District. We said yes.
15 A. It's a courtesy. If we observe them 16 BY MS- BAUMANN:
16 having a trafflc stop, we just wave to them to 17 Q' Y°" h_ad "° Pers°“a' k"‘_"""edge about What
17 see if everything was okay for safety reasons. §§ hai tr§:ssi?a'|'|';ctlhl;;ft:rl: :;:ea`;;‘$':dp‘r’igotnl;: S°ehe?
18 BY MS` BAUMANN: _ 2 0 and I believe they said he was going for a UUVV.
19 Q' When y°" dr°"e by' What d'd see? 21 Ms. BAUMANN: Nothing further.
20 /-\. 1 observed a squad car, unmarked police 22 MS_ PRESTON: We Wm reserve Signature'
21 Car' doing a traffic StOp' (Whereupon, the witness was
22 Q- Did You See Mr- Santiago? 23 excused and the deposition
23 A- EV€ntUaHY l did, Y€S- concluded at 2:20 p.m.)
24 Q. When did you see him? 24
Page 6 Page 8
1 A. When we were asked to -- when we were in 1 CERTIFICATE OF REPORTER
2 the process of putting him in the back of the b 2
3 wagon for transport. 3
4 Q. When you put him in the back of the 4 I, Donna J. Smuda, a Certifred Shorthand
5 wagon, was he handcuffed? 5 Reporterin the State of Illinois, do hereby
6 A_ Yes_ 6 certify that the foregoing was reported by
7 Q. Did you ever view the gun allegedly 7 Stenographic and mechanical means, which matter
8 found in this incident-9 8 was held on the date, and at the time and place
9 A_ No_ 9 set out on”the title page hereof and that the
10 Q_ Did you observe any of the other police 10 foregoing onstitutes a true and accurate
1 1 officers at the scene locate a gun? :; trahsclhr[:trtor:esra;:t|fy that l am not related
12 A. No.
13 Q. How was Mr. Santiago treated in terms of ii rt:t:pe:€|fnt::ep;:ctlce;:am;: tT]T;/:q;:t;:anclal
14 how he was physically handled when placed into 15 I have hereunder ubscr|bed my hand On
1 5 the wagon? l 6
16 MS. PRESTON: Objection, form. 17
1 7 BY THE WITNESS: l 8
1 8 A. He just stood there. He was handcuffed, 19
19 hands behind his back. I opened the door to the 2 0
20 back of the wagon and he entered the back of the 2 l _ d
21 wagon and sat down. 22 Donna j55 uda
22 Q. He didn't resist?
23 A. No, ma'am. 23
24 Q. Did you have any conversations with 24 ’/ l
Page 7 ' Page 9

 

ATKINSON-BAKER, INC., COURT REPORTERS (800)`288~3376

Case: 1:10-ov-O4691 Dooument #: 23-2 Filed: 12/15/11 Page 43 of 55 Page|D #:182

EXHIBIT M

Case: 1:1O-ov404691 Dooument #: 23-2 Filed: 12/15/11 Page 44 of 55 Page|D #:183

A504BF9
OFFICER MAREK DROZD May 17, 2011

 

l STATE OF ILLINOIS )
) SS:
2 COUNTY OF COOK )

3 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT _ MUNICIPAL DIVISION

5 JAVIER SANTIAGO,

6 Plaintiff,

NO. 10 C 4691

7 vs.

8 CITY OF CHICAGO, a municipal
corporation, et al.,

\./\/V\_/VV\_/Vv

9
Defendants.
10
11 The discovery deposition of OFFICER MAREK

12 DROZD, taken under oath on the 17th day of May 2011,

13 at Suite 500, 20 South Clark Street, Chicago,

14 Illinois, pursuant to the Rules of the Supreme Court
15 of Illinois and the Code of Civil Procedure, before
16 Devan J. Moore, a certified shorthand reporter, in

17 and for the County of Cook and State of Illinois,
18 pursuant to notice.

19

20

21

22 ATKINSON-BAKER, INC.
COURT REPORTERS

23 (800)288-3376
www.depo.com
24 File No.: A504BF9

 

 

 

Page 1
Atkinson-Baker, Inc. 1 (800) 288-3376

Case: 1:10-ov-O4691 Dooument #: 23-2 Filed: 12/15/11 Page 45 of 55 Page|D #:184

A504BF9
OFFICER MAREK DROZD May 17, 2011

 

p._i

CO

i-)-\r-‘i-\
o)i\)»-o@

r-)-\)-‘
O`\U'l»l>-

H»~)-\
\D®\l

[\) l\) l\.) l\) l\)
(,d l\.) i~“

de

l‘J

.l>

m

10

ll
12
13
14
15

17
18
19
20
21

23
24

 

APPEARANCES:

BAUMANN & SHULDINER, by

MS. DEIDRE BAUMANN
20 South Clark Street
Suite 500
Chicago, IL 60603
(312)372-8242

for the plaintiff;

CITY OF CHICAGO DEPARTMENT OF LAW, by

MS. AMY PRESTON
30 North LaSalle Street
Room 1400
Chicago, IL 60602
(312)742-4045

for the defendants

1 N D E X
Witness:
OFFICER MAREK DROZD
Examination by:
Ms. Baumann

E X H I B 1 T 5
Number
None so marked.

Page

Page

CERTIFIED QUESTIONS

Page
None.

Line

Page 2

Page 3

 

(D\lO`\U'\>-l>wl\.)l_‘

r\)r\)|\)l\)l\Jr-Ji-\r-\r-\r-\i-'i-\i-\i-\i-'
Lo)i\>>-l©\ooo\io\tnu>.o)r\>r-\O\O

i\)r\)r\)r\)i-\i-\r-\i-\i-\i-'i-\i-'i-\r-\
wr\)i-Otooo\io\tna>col\)r-\O\OOO\'("‘-”“'1‘*‘[\3*‘

24

(Witness sworn.)
OFFICER MAREK DROZD,

called as a witness herein, having been hrst duly
sworn, was examined and testihed as follows:

EXAMINATION

BY

MS. BAUMANN:
Please state your name for the record.
Marek, M-a-r-e-k, Drozd, D-r-o-z-d.
And where do you work?
The Chicago Police Department.
How long have you been with CPD?
1'|| have 10 years in Ju|y.
And what is your position?
l am a police officer.
As a police officer are you a regular beat
cop or what duties do you have?

A As a regular I'm assigned to our
counter-terrorist division.

Q And how long have you been with
counter-terrorism?

A 3 years.

Q And what do you do with counter-terrorism?

A Terrorism-re|ated investigations Main|y

¢O>D>¢O>¢OJ>D

Page 4

organized crime. That's pretty much it.
In July of 2008 where did you work?
1 was assigned to the 25th District.
And what did you do at that time?
l was assigned as a beat ofhcer.
And what does a beat officer do?
Patro|.
Q How is it that on or about July 27th of
2008 did you come into contact with Javier Santiago?
A I was on the way back to the district from
a prisoner transport assignment
Q Where were you transporting the prisoner?
A I don't recall at this time.
Q And on your way back to the station you
were called for assistance?
A No. That was on-view. That was an on-view
incident.
Q Exp|ain to me what that means, "on-view".
A That means that we are driving and we are
observing officers conducting a traffic stop.
Q So you weren't specifically called to the
scene in this instance?
A No.
Q 0kay. When you arrived at the scene what

>rOJ>rOJ>»O

Page 5

 

 

Atkinson-Baker, Inc.

2 (Pages 2 to 5)
1 (800) 288-3376

Case: 1:10-ov-O4691 Dooument #: 23-2 Filed: 12/15/11 Page 46 of 55 Page|D #:185

 

 

 

A504BF9
OFFICER MAREK DROZD May 17, 201 1
l did you See? 1 called him and I asked him if he remembered what this
2 A We observed an unmarked vehicle and another 2 event was about.
3 vehicle, which 1 cannot describe. 3 Q And what did he say to you?
4 Q In the unmarked vehicle was a police 4 A He says, No, I have to look it up, the
5 vehicle driven by Moussa and Tooze (phonetic)? 5 name.
6 MS. PRESTON: Objection. Speculation. 6 Q 0kay. Anything else about the conversation
7 Go ahead. 7 that you recall?
8 BY MS. BAUMANN: 8 A No. That's about it. Everything else
9 Q Do you know? 9 happened in the office of Corporation Counsel.
1 O A 1 don't know who was driving. 1 didn't 1 0 Q 0kay. And did you have any independent
1 1 know these officers at that time. 1 1 recollection of the event?
1 2 Q But it was an unmarked police vehicle that 1 2 MS. PRESTON: Objection. Form.
l 3 you saw? l 3 THE WITNESS: Can you be more specific?
1 4 A YeS. 14 BY MS. BAUMANN:
1 5 Q And how many police officers did you see? 1 5 Q I guess at some point you were served with
1 6 A 1 don't recall at this time. 1 6 notice of the lawsuit. When you were served notice,
1 7 Q And the individual being stopped were you 17 did you have any independent recollection of what had
1 8 able to view him? 1 8 occurred?
1 9 A There was a person standing next to a car, 1 9 A No.
2 O but 1 can describe that person. 2 O Q When you arrived on the scene, what did you
2 1 Q Do you recall if that person was 21 do?
22 handcuffed? 2 2 A We asked the officers on the scene if they
23 A 1 believe the person was handcuffed 2 3 needed any assistance
2 4 already. 24 Q And what did they say?
Page 6 Page 8
1 Q Do you have any independent knowledge of 1 A They asked us if we could transport one to
2 why that person was stopped? 2 the 13th District.
3 MS. PRESTON: Objection. Form. 3 Q And did you do that?
4 THE WlTNESS: Can 1 answer? 4 A Yes.
5 MS. PRESTON: Yes. 5 Q And was that Mr. Santiago you transported?
6 THE W1TNESS: No. 6 A Based on the report, yes.
7 BY MS. BAUMANN: 7 Q Do you recall any conversations you had
8 Q Have you ever had any discussions with any 8 with Mr. Santiago?
9 officer concerning the stop and the arrest of Javier 9 A 1 don't recall having any conversation at
1 0 Santiago? 1 O this time.
1 1 MS. PRESTON: I'm just going to instruct you 1 l Q Do you recall anything either of the
1 2 not to answer about any discussions you've had in my 12 officers may have said to you at the scene other than
1 3 presence or the presence of your other counsel in 1 3 what you've already said?
1 4 this case. But otherwise you can answer. 1 4 A No.
1 5 THE W1TNESS: The only discussion outside the 1 5 Q Did you witness either of the officers on
1 6 office -- 1 had a discussion with my partner. 1 6 the scene push or in any way manhandle Mr. Santiago?
17 BY MS. BAUMANN: 17 MS. PRESTON: Objection. Form.
1 8 Q Who is your partner? 1 8 THE WITNESS: No.
1 9 A thcer Surma. 1 9 BY MS. BAUMANN:
2 0 Q How do you spell that? 2 O Q Did you ever view the gun that was
2 1 A S-u-r-m-a. 2 1 allegedly taken from Mr. Santiago's car?
2 2 Q 0kay. And What did you an Officer Surma 22 MS. PRESTON: Objection. Form.
2 3 discuss? 2 3 THE W1TNESS: No.
2 4 A After 1 got notified of the lawsuit 1 24
Page 7 Page 9

 

 

Atkinson-Baker, Inc.

3 (Pages 6 to 9)
1 (800) 288-3376

Case: 1:10-ov-O4691 Dooument #: 23-2 Filed: 12/15/11 Page 47 of 55 Page|D #:186

EXHIBIT N

Case: 1:10-ov-O4691 Dooument #: 23-2 Filed: 12/15/11 Page 48 of 55 Page|D #:187

A504BF9
OFFICER MOUSSA May 17, 2011

 

l STATE OF ILLINOIS )
) SS:
2 COUNTY OF COOK )

3 IN THE cIRcUIT count or cook coUNTY, itrrnofs
coUNTY DEPARTMENT - MuNIcIPAL orvrsroN

s JAVIER sANTIAoo,

6 ' Plaintiff,

No. 10 c 4691

7 vs.

8 CITY OF CHICAGO, a municipal
corporation, et al.,

`_,V`_/`_/`_,`_/VVV

9
Defendants.
10
11 The discovery deposition of OFFICER

12 MOUSSA, taken under oath on the 17th day of May 2011,

13 at Suite 500, 20 South Clark Street, Chicago,

14 Illinois, pursuant to the Rules Of the Supreme Court
15 of Illinois and the Code Of Civil Procedure, before
16 Devan J. Moore, a certified shorthand reporter, in

17 and for the County of Cook and State of Illinois,
18 pursuant to notice.

19

20

21

22 ATKINSON-BAKER, INC.
COURT REPORTERS

23 (800)288-3376
www.depo.com
24 File No.: A504BF9

 

 

 

Page 1
Atkinson-Baker, Inc. 1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 49 of 55 Page|D #:188

 

A504BF9
OFFICER MOUSSA May 17, 2011

1 APPEARANCES: 1 (Witness sworn.)
2 BAUMANN & SHULDINER, by 2 A

MS. DEIDRE BAUMANN 3 " d OF.:ICERhMOL.]SSh ' . b f_ St d l
3 20 South C|ark Street ca e as a wl ness erein, avlng een ir u y

Suite 500 4 sworn, was examined and testified as follows:
4 Chicago, IL 60603 5 EXAMINATION

(312)372-8242 6 BY
5 for the plaintiff; _
6 crrY oF cHIcAGo DEPARTMENT 0F LAw, by 7 _ MS' BAUMANN'

MS_ AMY PREg|-ON 8 Q Slr, would you state your name for the

 

 

 

7 30 North La$a|le Street 9 record, please.
8 §§i<;';\ ;4(1)|(_) 60602 1 0 A Officer Moussa, M-o-u-s-s-a. Star 5509,
(312)‘-;4'2_4045 1 1 Chicago Police Department.

9 for the defendants_ 1 2 Q 0kay. How long have you been with the
1 0 1 3 police department?
§§ 1 4 A 8-and-a-ha|f years.

1 3 1 5 Q And where do you currently work?
1 4 1 6 A Unit 153.
1 5 1 7 Q And where is that located?
§§ 18 A Homan Square.
l 8 1 9 Q Homan Square?
1 9 2 0 A Yes, ma'am.
20 2 1 Q What police district is that?
2 1 2 2 A It's a unit.
§§ 2 3 Q Exp|ain what is a unit. Exp|ain that.
24 2 4 A First of all, we're called a mobile strike

Page 2 Page 4
1 I N D E X 1 force, and we respond all over the city to any type
2 \C’)V|;::';;SE$R MOUSSA Page 2 of incident that occurs; whether it be a gang
Examination by: 3 suppression mission, a disturbance, crowd contro|.
3 Ms_ Baumann 4,49 4 Things of that nature.
Ms. Preston 48 5 Q And how long have you been with Homan
§ 6 - Square?
E X H l B l T S 7 A Homan Square, 6 months.
6 Number page 8 Q And where were you prior to that?
None so marked. 9 A The 25th District.
g 1 0 Q In what capacity?
1 1 A Patrol.
9 CERTIFIEDQUESTIONS
page L;ne 1 2 Q And how long were you a patrol?
10 None. 1 3 A A year in 25.
§§ 1 4 Q And prior to that?
13 15 A Mobi|e Strike Force, Unite 153.
1 4 1 6 Q And out of Homan Square as well?
15 1 7 A Out of Homan Square, yeah. The same unit.
1 6 1 8 Q And how long were you there?
§§ 1 9 A A year and a half maybe.
1 9 2 0 Q Doing the same thing that you do now?
20 2 1 A Sure. Going to different districts
2 1 2 2 citywide.
§§ 2 3 Q And prior to that?
2 4 24 A The 13th District.
Page 3 Page 5

 

Atkinson-Baker, Inc.

 

2 (Pages 2 to 5)
1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 50 of 55 Page|D #:189

 

 

A504BF9
OFFICER MOUSSA May 17, 2011
1 Q In what capacity? 1 A My whole life, but after that 3 years
2 A I started out in patrol. 2 maybe.
3 Q How long were you on patrol? 3 Q What's the restaurant?
4 A I want to say maybe 4 to 6 months. I'm not 4 A It's an Armenian restaurant in Los Angeles.
5 sure. 5 Q I'm looking for good restaurant.
6 Q And then...? 6 A This one is good, but it's in LA.
7 A Assigned to the gang unit. 7 Q Turning your attention to July 27th of
8 Q And what does the gang unit do? 8 2008, what is the first thing that you remember
9 A We investigate gang crimes, complaints 9 concerning your contact with Mr. Santiago?
10 about gang members. Keep tabs on gang members in the 1 0 MS. PRESTON: Objection to form.
1 1 area. Do follow-ups on crime that involve gang 1 1 Go ahead.
12 members. 12 THE W1TNESS: We received a call from our
1 3 Q And in July of 2008 you were in the gang 1 3 sergeant.
1 4 unit at the 13th District? 1 4 BY MS. BAUMANN:
1 5 A Yes, ma'am. 1 5 Q Who is the sergeant?
1 6 Q Prior to July 2008 were you familiar with 1 6 A Ronan (phonetic).
1 7 Javier Santiago? 1 7 Q And what did Ronan say?
1 8 A No, ma'am. 1 8 A Ronan was talking to Ofncer Tooze
1 9 Q You had never met him before? 1 9 (phonetic) who I was working with that day. Stating
2 0 A No, ma'am. 2 0 that there was an individual after, Officer Tooze
2 1 Q Did you hear of him prior to that date? 2 1 related it to me, on the corner of Rice and Damen
22 A No, ma'am. 22 that was in possession of a handgun.
2 3 Q What special training, if any, did you 2 3 Q Do you know what time you received this
2 4 receive with the gang unit? 2 4 call?
Page 6 Page 8
1 A Special training? You might go to special 1 MS- PRESTON= Obj€ClJ`On- MiSStatE teSlJ`mOnY-
2 classes, interrogation classes maybe -- interrogation 2 BY MS. BAUMANN:
3 technique classes. I know I went to one when I was 3 Q You and your partner received this call?
4 in the gang unit there. Search warrant classes. 4 A YG, ma'am-
5 Maybe special classes when you're doing search 5 Q What time?
6 warrants to enter a house safely and with a team and 6 A Idon‘t recall the time.
7 things of that nature. Maybe a couple Hrearm 7 Q Did you talk to Sergeant Ronan yourself at
8 courses. 8 any point?
9 Q So safety, firearm? 9 A ' No, I don‘t believe so.
1 0 A Yeah. I think it's Cal|ed `|'I'U, tactical 1 0 Q When I say "at any point," at this point
1 1 barricade and entrance team or something like that 1 1 that We're talking about FlrSf Of a||?
12 (sic)_ I'm not Sure_ 12 A No. At the point where he told us to
1 3 Q And what is your highest level of 1 3 relocate to where he was, no, I did not talk to him.
1 4 education? 1 4 Q 0kay. So any information you have
1 5 A I've completed -- I left my senior year of 1 5 concerning the conversation between Tooze and Ronan
1 6 Col|ege. 1 6 came from Tooze?
1 7 Q And why did you leave? 1 7 A Ys, ma'am.
l 8 A My father became ill at a restaurant 50 I 1 8 Q And what was your understanding of What
l 9 took over that rgtaurant for my dad_ l 9 this person -- individual was doing at the corner of
2 0 Q Sorry to hear that. 2 0 Reiss and Damen?
2 1 What were you studying? 2 1 A My understanding was the person at Reiss
2 2 A Kinesiology. SporB medicine. 22 and Damen was in possession of a handgun that he had
2 3 Q And how long did you work at your father's 23 inside his vehicle. Sergeant was going to set up
2 4 restaurant? 2 4 surveillance. And we were going to stay bad< and
Page 7 Page 9

 

 

 

 

3 (Pages 6 to 9)
AtkinsonaBaker, Inc. 1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 51 of 55 Page|D #:190

 

 

 

 

A504BF9
OFFICER MOUSSA May 17, 2011
1 until Sergeant Ronan needed us to either take this 1 Competence.
2 person down or whatever the case. 2 Go ahead.
3 Q Did you have a description of the person? 3 THE W1TNESS: We|l, an informant is one thing.
4 A Yes.` 4 A confidential informant is something totally
5 Q And what was the description? ` 5 different. This wasn't a confidential informant.
6 A A male Hispanic, long black hair black, 6 `lhis was a citizens that came into the desk at the
7 black tank top, black shorts, black gym shoes. 7 13th District.
8 Q And was the person supposed to be standing 8 Working in the gang unit, some gang
9 on the corner of Rice and Damen or in a car? What 9 officers do have confidential informants or CIs that
10 was your under standing? 1 0 they use that are registered. And I was not one of
11 A That the D€rSOn WaS in the area Of Rice and 1 1 those members that had a confidential informant.
12 Damen, that he had a vehicle which had a handgun in 12 But any type of citizen that lodged a
13 it. 1 3 complaint or that wanted to report something, we took
1 4 Q DO you know Wh° Pr°Vid€d the information to 1 4 that information and we followed up on it. Sometimes
15 Ronan concerning this alleged handgun? 1 5 it panned out. Sometimes it didn't. But at least --
1 6 A I believe -- 1 6 a lot of people seemed to be afraid to identify
17 MS- PRESTON! Wait- Just give me a SeCOnd to 1 7 themselves living in that community or whatever the
1 8 object. 1 8 case is.
1 9 THE W1TNESS: 0kay. 1 9 BY MS. BAUMANN:
2 0 MS. PRESTON: I'm just going to object on the 2 0 Q Is there any way that you as police
2 1 basis of the informant's privilege and instruct you 2 1 officers attempt to ensure the reliability of the
2 2 not to answer to the extent that you would be 2 2 informant, of a citizen infonnant?
23 providing any identifying information of the 2 3 MS. PRESTON: Objection. Form.
2 4 informant. 2 4 GO ahead.
Page 10 Page 12
1 But go ahead. You can answer if you 1 THE W1TNESS: I mean, sometimsl you could tell
2 know, but ys or no. 2 by what they're telling you if it's true, if there's
3 THE W1TNESS: Yes. 3 something true to what they're saying. And sometims
4 MS. BAUMANN: I forgot the question. Wou|d you 4 you know that maybe this person just wants people off
5 read it back, please. 5 their block because she’s tired of seeing kids
6 (Whereupon, the record was read 6 running up and down the street or whatever the case
7 as requested.) 7 is.
8 BY MS. BAUMANN: 8 You take it to each its own, and you
9 Q And how is it that you knew who provided 9 just look into it. But for a citizen to come into a
10 the information? 10 station and you not listen to their concerns, I think
11 A I believe Sergeant Ronan told Officer Tooze 1 1 that you're totally missing the purpose of being a
12 on the phone that the desk sergeant in the 13th 12 police officer.
1 3 District provided this information. 1 3 Do you know what I mean?
1 4 Q Were you made aware of the identity of the 1 4 BY MS. BAUMANN:
1 5 informant? 15 Q Yeah. I mean, the concern is obviously
1 6 A No. 1 6 what happens or what can happen, such as what
1 7 Q So at the time you were made aware that 17 happened in this case.
1 8 there was an alleged informant, did you have any 1 8 Your partner spoke with Sergeant
1 9 information on this informant whatsoever? 1 9 Ronan?
20 A No, ma'am. 20 A On his cell phone.
2 1 Q What is the policy and/or practice for the 2 1 Q On the cell phone.
2 2 Chicago police with regards to using unidentified 22 And what did Officer Tooze say to you?
23 informants in pursuing an investigation? 23 A He gave me a description of the information
2 4 MS. PRESTON: Objection. Form. Foundation. 2 4 that he received from Ronan, and that we were going
Page 11 Page 13

 

 

Atkinson-Baker, Inc.

4 (Pages 10 to 13)
1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 52 of 55 Page|D #:191

 

 

 

A504BF9 _
OFFICER MOUSSA May 17, 2011
l over to Chicago -- iri the area of Chicago and Damen. 1 A That's right.
2 And we actually parked on Chicago and Hoyne. And at 2 Q And what did you discover, if anything,
3 that point there was no more telephone communication. 3 when you punched in the license plate number?
4 We went to a radio communication, but 4 A The vehicle was registered to a
5 within our -- only using our radius. Almost like a 5 Mr. Santiago.
6 private channel. 6 Q Anything else?
7 Q 0kay. And with that private channel you 7 A No.
8 were able to communicate with Sergeant Ronan? 8 Q And what did you --
9 A Yes, ma'am. 9 A We|l, there was something else. After that
1 0 Q And did _you in fact communicate wiu1 him? 1 O vehicle came back to Mr. Santiago then we starting
1 1 A YQ. 1 1 getting a LEADS response to a caution file aleit,
12 Q And what was said between you? 12 gang member, subject on parole. And that was
13 MS. PRESTON: Over the radio? 1 3 Mr. Santiago coming back to the name -- hitting off
1 4 MS. BAUMANN: Over the radio. 1 4 the name after running the vehicle.
1 5 THE W1TNESS: Over the radio? 1 5 Q Can you repeat that again. "Caution"...?
1 6 Sergeant Ronan was in position. He 1 6 A Caution file. So it says, Caution file.
17 was watching the subject under surveillance, Gave us 17 Be aware of gang member. Spanish Cobra. Subject is
1 8 the information for the vehicle, for the license 1 8 armed and dangerous. Subject is on parole for armed
1 9 plate. And gave us this information to the subject 1 9 robbery.
20 himself. 2 0 And the pages start getting sent
21 At that point I was punching in 2 1 through that way? And it's not like -- an officer
22 information into our computer system. So the first 2 2 safety alert. That's what it is. That's what it's
23 thing I did was run a LEADS on the vehicle. That 2 3 letting us know.
2 4 check came back for Mr. Santiago. 2 4 Q At that time did it indicate whether or not
Page 14 Page 16
1 Q 0kay- Let'S back up a little bit- 1 Mr. Santiago had a valid driver's license?
2 You were positioned on -- you were 2 A He did not have it. Never issued a
3 parked ori Chicago at Hoyne. Do you know where Ronan 3 license,
4 was parked? 4 Q Does that come up on the LEADS?
5 Ms. PREsroN: objection speculation 5 A They all come back no valid DL, never
6 Mischaracterizes his tstimony. 6 issued; or no valid DL, revoked; no valid DL,
7 Go ahead. 7 suspended.
8 THE WITNESS: He was in the area of Damen and 8 Q 0kay. Do you recall which it was in this
9 Rice. And do I know his actual surveillance point? 9 case?
1 0 No, I don't. 1 0 A No DL. Never issued.
1 1 BY Ms. BAUMANN: 1 1 Q Never issued.
12 Q And Sergeant Ronan was talking to both you l 2 0kay. On the LEADS does it provide
1 3 and your partner over the radio providing you with 1 3 any information on insulance?
1 4 information. What information was he giving you? 1 4 A No, The only time it would provide
1 5 A He gave us the information to the vehicle, 1 5 insurance if you got a ticket and you went to court
1 6 information on the subject, and to stand by. He 16 and you're supposed to provide insurance and you
1 7 didn't give anything further. 1 7 didn't_
1 8 Q Information as to the vehicle, is that the 1 8 Let's say a judge tells you tO gO get
1 9 make, model, color? 1 9 an SR22 or get insurance and you don't, then you get
2 0 A Make, model, color, license plate, which 2 0 a mandatory insurance violation. Your license is
2 1 WaS also given at the 13th District deSk- 2 1 suspended. That's when that will come up. It will
22 Q And When you Said you Punched in the 2 2 come up, License suspended. And then underneath it
2 3 information into the LEADS system, would you punch in 2 3 will say, Mandatory insurance violation; letting us
2 4 the license Plate number? 2 4 know that you already got stopped without insurance

Page 15

 

 

Page 17

 

Atkinson-Baker, Inc.

5 (Pages 14 to 17)
1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 53 of 55 Page|D #:192

 

 

 

 

A504BF9
OFFICER MOUSSA May 17, 2011
1 and you're still operating the vehicle uninsured. 1 Q Now, as a member of this unit would you
2 And the way to get that off is just 2 ordinarily pull over citizens for throwing litter out
3 going in and, Here's my insurance. 3 of a window?
4 Q 0kay. What happened next? After you're 4 MS. PRESTON: Objection. Form. Foundation.
5 now receiving information in the LEADS, did you have 5 Go ahead.
6 further discussion with Sergeant Ronan? 6 THE W1TNESS: Yeah, you do it. Yeah, you stop
7 A Sergeant Ronan stated over the radio that 7 people all time if they throw litter, not wearing
8 he did see the subject fitting the description of 8 their seat be|t. Abso|ute|y. Traffic is a big part
9 Javier Santiago. We pulled up a picture of 9 of our police work that we do every day.
1 0 Mr. Santiago on our CLEAR system that's in the 1 0 BY MS. BAUMANN:
1 1 vehicle, relating our description to Sergeant Ronan, 1 1 Q As part of the gang unit?
12 which was, Yes, this is the guy. He fits the 12 A yeah. A gang unit is just a gang unit, but
13 descripljon. 13 you still have your re_sponsibiliti% as a police
14 And at that time Sergeant Ronan told 1 4 officer. So just being in the gang unit that doesn’t
15 uS 10 Stand b‘/, that he WaS Walking out on Damen at 15 mean that if you ran a red light in front of me, I'm
1 6 Rice back and forth. And we were still running stuff 1 6 not going to pull you over and stop your vehicle for
17 into our computer just to make sure who this person 17 disobeying that red |ight.
1 8 was. 1 8 Do you know what I mean?
1 9 Q Who was walking on Damen back and forth? l 9 Q Yeah. We|l, let me ask you this:
20 Ronan or Santiago? 2 O You were driving an unmarked car;
21 A No. Santiago. 21 correct?
2 2 Q Do you know if Santiago had any gun visible 22 A Yes, ma'am.
23 on him as he was walking back and forth on Damen? 2 3 Q Do you have a book of tickets on which you
2 4 MS. PRESTON: Objection. Speculation. 2 4 can write people tickets for traffic violations and
Page 18 Page 20
1 THE W1TNESS: No, ma'am. 1 things like that in your car?
2 BY MS. BAUMANN: 2 A I have a ticket book. I have an ANOV book.
3 Q What happened next? 3 Q A what?
4 A At that point Officer Ronan said that the 4 A ANOV.
5 subject entered the vehicle which was parked on Damen 5 Q What is that?
6 northbound at Rice. Subject opened a pack of 6 A A City ordinance violation book. And I
7 cigarettes. Threw those wrappers out the window and 7 have a parking book that l bring with me.
8 was attempting to make his way into traffic 8 MS. PRESTON: Just for the record, ANOV is
9 northbound on Damen. 9 A-N-O-V, all caps.
1 0 Q Did you see any of this, or did Sergeant 10 BY MS. BAUMANN:
11 Ronan tell you? 1 1 Q So in your experience it's common to write
12 A Sergeant Ronan. 12 traffic or ordinance violation tickets as a member of
13 Q And what happened next? 13 unit 153, is it?
14 A At that point we went northbound on Hoyne 14 A 153? Abso|ute|y.
15 to Walton. Eastbound on Walton to Damen. And curbed 15 Q Yeah?
1 6 Mr. Santiago's vehicle at 925 North Damen. 1 6 A Yeah. It's all part of community policing.
17 Q What was the purpose of your curbing his 17 You know, take care of the little things. The big
1 8 vehicle at that location? 1 8 things take care of themselves. But you have all
1 9 A The first purpose was throwing a wrapper l 9 those books with you. And it's a big part of police
20 out of the window and knowing him not to have a 20 work.
21 driver's license. 21 And if you want an example, I'll give
22 Q So prior to pulling him over you knew he 22 you one.
23 didn't have a driver's license? 23 Q Go ahead.
24 A Yes, ma'am. 24 A If you have a handicapped spot and you're
Page 19 Page 21

 

 

Atkinson-Baker, Inc.

6 (Pages 18 to 21)
1 (800) 288-3376

Case: 1:10-cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 54 of 55 PagelD #:193

 

 

 

 

 

 

A504BF9
OFFICER MOUSSA May 17, 2011
1 their tickets. 1 A Yes-
2 They take their tickets. You go to 2 Q Do you go into the glove compartment?
3 the front of the sergeant. Give the sergeant the 3 A Yes, ma'am-
4 tickets. The sergeant issues an I-bond. At which 4 MS- PRESTON= I'm just going to ObjeCt to
5 time once he's issued the I-bond, goes over his court 5 foundation-
6 dates. "This is your I-bond. This is when you have 6 Are we still just talking about if
7 to return." Cuffs are released. "Have a nice day. 7 it's an impound searCh?
8 Don't drive your car". 8 MS. BAUMANN: Yes.
9 The car is automatically inventoried, 9 MS- PRESTON: Ol<ay-
1 0 impounded, and totaled for those violations: no 10 THE WITNESS: And We go into those areas
1 1 insurance, no driver'$ license, l 1 because I don't want you to say after I towed your
12 If the individual asks, "Can I get 12 car thatI had $10,000 cash in the glove compartment
1 3 some belongings out of my car?" "Absolutely. Let's 1 3 The Car gets towed- Then they piCl< up the VehiCle,
1 4 go to the car." Go in it. "What do you want?" Open 14 and now mere`s no $10,000 in there.
15 the trunk, and I find an RPG back there, he's going 15 So I'm going to make sure that there's
1 6 to go to jail for the RPG_ 1 6 not anything weird. And I'm going also going to look
1 7 Q What is an RPG? 1 7 for contraband at that point. Any firearms,
1 8 A A rocket propelled grenade. 1 8 narcotics, paraphema|ia, anything that you shouldn't
1 9 Do you know what I mean? 1 9 have in that vehicle.
2 0 (Laughter.) 2 0 BY MS. BAUMANN:
2 1 THE W1TNESS: I'm Sorry. 2 1 Q Do you believe it's lawful for the police
22 BY MS_ BAUMANN: 22 to search for contraband pursuant to an impoundment
2 3 Q No, that's okay, 23 as you've described? ‘
2 4 A But anyway, if you don‘t get their Stuff 24 MS. PRESTON: Objection. Form. Foundation.
Page 26 Page 28
1 out, the car is impounded and towed, they've got to 1 Go ahead. Incomplete hypothetical.
2 report to the impound yard with a valid driver's 2 THE W1TNESS: Are we just talking about -- are
3 license and insurance to get their vehicle out. 3 We talking about Mr. SantiagO'S CaSe?
4 Q Do you know what the policies and 4 BY MS. BAUMANN:
5 procedures are for inventorying an automobile? 5 Q The situation you posed with the license
6 A Yes. 6 and insurance.
7 Q what are they? 7 A The license insurance, I'm dennitely going
8 MS. PRESTON: Objection. Foundation. 8 to look for a weapon when I pull you out of that car
9 Competence. 9 on your person. For officer safety, I'm going to do
10 Go ahead. 1 0 a protective patdown. Done.
11 THE W1TNESS: Inventory for violations of ILCS 1 1 I'm also going to do a protective
12 for a driver's license and insurance. Go through the 12 patdown of that vehicle that you have control over.
1 3 vehicle. Secure that vehicle. 1 3 50 is that front Seat? Yes. IS that the glOV€
14 But Say l see that Mr- Santiago has a 1 4 compartment? Yes. Is that engine department?
15 Norman Rockwell painting in the back seat of that 1 5 Abso|utely not. Because you're not going to be able
1 6 Can I'm going to ask him, What do You Wani me to do 1 6 to get to that engine department if I have you where
17 With this painting? Do You Want the Chicago Police 1 7 you're at out of the driver's seat. But that's where
l 8 Department to inventory this and when you get out you 1 8 I might immediately l00k.
19 come back to jail and pick it up; or would you like 1 9 Am I going to look behind the seat?
20 me to put it in the trunk of the vehicle and secure 2 0 Abso|ute|y. If your back seat folds down, am I going
21 it back there. 2 1 to look into the trunk? Abso|ute|y. Could you have
22 BY MS. BAUMANN: 22 had time before I pulled you over to reach back and
23 Q When you say go through the vehicle, do you 2 3 pull down that back seat and throw anything into the
24 go in the trunk? 2 4 trunk? Yeah, you do. You do have that capability of
Page 27 Page 29
8 (Pages 26 to 29)

A_tkinson-Baker, Inc.

1 (800) 288-3376

Case: 1:10-Cv-O4691 Document #: 23-2 Filed: 12/15/11 Page 55 of 55 Page|D #:194

 

 

 

 

 

 

Atkinson-Baker, Inc.

A504BF9
OFFICER MOUSSA May 17, 2011
1 doing that. 1 take it you did not see a gun on his person?
2 Do you know whatI mean? 2 A No. Officer Tooze and I patted down
3 Q Yeah, but if -- 3 Mr. Santiago. No firearm on his person.
4 A We're still talking about license and 4 Q Did you have an opportunity to view the
5 insurance? 5 Car --
6 MS. PRESTON: Wait. Wait. There's no question 6 A Yes,
7 pending. 7 Q -- the interior of the car?
8 THE WITNESS: What's the question? 8 A Yes.
9 BY MS. BAUMANN: 9 Q Was there a gun in plain view?
1 0 Q I just want to talk about this license and 1 0 A No.
1 1 insurance issue. 1 1 Q 0kay. Mr. Santiago is outside of the car.
12 A Right. 1 2 Do you recall at what point you cuffed him if you
1 3 Q You're saying that it is appropriate to 1 3 did?
1 4 look for contraband behind the seats and all of that? 1 4 A Officer Tooze cuffed him_ And as I saw
15 A No. What I'm Saying is that once we search 1 5 Officer Tooze cuffing him and he was secured -- was
1 6 that vehicle, you're searching that vehicle; but 1 6 not resisting ~- I walked up. Assisted with the
17 you're searching that vehicle for things that I told 1 7 cufting_ And that's when the wagon pulled up, 25. I
1 8 you we were going to search it for. 1 8 forgot their beat, but I know it was a wagon.
1 9 We're searching for jewelry. Maybe 1 9 And we had asked them if they could
20 you have a Ro|ex watch behind the seat. If I find 2 O transport this individual back to is 13 for us.
21 that watch, am I going to inventory it? A hundred 2 1 Q Did you say anything to Santiago during
2 2 percent. Abso|ute|y. Because if that watch goes 2 2 this time --
23 missing by the time I have you in custody to you go 2 3 A No.
24 get your car, who is responsible for that watch? I 2 4 Q -- between the time you cuffed him until
Page 30 Page 32
1 was. You weren't. You're handcuffed. 1 the time the wagon -- or the officers took him?
2 MS. PRESTON: You're talking about an impound 2 A No.
3 situation? 3 Q Did you see Officer Tooze search the car?
4 THE W1TNESS: Yes. Sure. That's all we're 4 A Yes.
5 talking about. 5 Q And how did Officer Tooze search the car?
6 MS. BAUMANN: Right. I wanted to get that 6 A Officer Tooze was on the driver's side, and
7 straight first of all. 7 I was on the passenger side of vehicle. Officer
8 BY MS. BAUMANN: 8 Tooze looked under the seat of the driver's side.
9 Q In this case, in Santiago's case, was the 9 Looked all around the driver's compartment, at which
1 0 car searched pursuant to the an impoundment 1 0 time he went to the back of the seat. Looked in the
1 1 situation? 1 1 back seat. Looked under the seat in the back.
12 A Yes, it was. The vehicle was going to be 12 Looked in the front seat from the back.
1 3 impounded. But we also had information that this 13 Then Officer Tooze went into the
1 4 individual had a handgun in that vehicle. 14 center console. Looked in the center console, at
1 5 Q Was there a search conducted of the 1 5 which time the center console -- as Officer Tooze
1 6 vehic|e? 1 6 pulled up the lever to the center console, this
1 7 A Yes. 1 7 center console didn't open. But the center console
1 8 Q And when was that? 1 8 came up off the ground or something to that effect.
19 A On the scene. As soon as we placed him l 9 I'm not a hundred percent sure. And
2 0 into custody for littering, no license, and no 2 0 that's when Officer Tooze lifted the back bottom of
2 1 insurance. 2 1 the center console. It wasn't held down by any board
22 Q Who searched the car? 22 bolts. Officer Tooze removed the handgun from
2 3 A Officer Tooze. 2 3 underneath the center console and the carpet.
2 4 Q As you had Santiago outside of the car, I 24 That's the best I can recall.
Page 31 Page 33
9 (Pages 30 to 33)

1 (800) 288-3376

